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                               UNITED STATES DISTRICT CO URT
                               SOUTHERN DISTRICT OF FLORIDA
                                Case No.17-ClV-22477-W ILLlAM S

  GARLAND CREEDLE,

             Plaintis,

       VS.

  M IAM I-DADE CO UNW ,efa/.,

             Defendants.
                                /

                         O RDER O N DEFENDANTS'M OTIO NS TO DISM ISS

         THIS M ATTER is before the Courton DefendantAlexanderM adinez's m otion to

  dismiss (DE 68),Defendants United States DepadmentofHomeland Security ($'DHS'
                                                                              ')
  and UnitedStates lmmigrationand CustomsEnforcement's($$ICE'')motiontodismiss(DE
  69),and DefendantMiami-Dade County's ('County'')motion to dismiss (DE 70). Plaintiff
  Garland Creedle (''Mr.Creedle'')filed a response in oppositionto each motion. (DE 87.
                                                                                      ,
  DE 88.
       ,DE 89).Defendantsreplied. (DE 100,
                                         .DE 101.
                                                ,DE 102). Forthe reasons below,
  Madinez's motion to dism iss is G RA NTED,while DHS and ICE'S m otion to dism iss and

  the County's m otion to dism iss are G RANTED IN PART A ND DENIED IN PART.

  1.     Background

         M r.Creedle filed his originalcom plaintagainstCarlos A.G im enez and the County

  on July 5,2017. (DE 1). This Coud held a hearing on May 16,2018,during which it
  granted in pad Gimenez and the County'sfirstmotion to dismiss. (DE 47). On June 1,
  2018, M r. Creedle filed an am ended complaint against the County, DHS, ICE, and

  Madinez,an ICE officer. (DE 48). Defendants filed motions to dismiss the amended
  complaintsoon after. (DE 68*
                             ,DE 69,
                                   .DE 70).
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         Forpurposes ofruling on the m otions to dism iss,the Coud accepts the following

  facts alleged in the am ended com plaintand contained in the exhibits astrue. M r.Creedle

  isa U.S.citizenwho was 19yearsoId whenthe amended complaintwasfiled.(DE 48 at
  3).Although M r.Creedle has been a U.S.citizensince the momentofhisbirth by vidue
  ofhis father's U.S.citizenship,w hen he cam e to the U.S.from Honduras in 2015, ICE

  arrested him and placed him in adm inistrative rem ovalproceedings. Id.at9-10. ln Apriî

  2015,DHS filed a motionwiththe immigrationjudge stating thatthe proceedings should
  be term inated because M r.Creedle is a U.S.citizen. /d.at10.
                                                              ,see also DE 48-1,Ex.B.

  The immigration judge granted the motion and terminated the proceedings againstMr.
  Creedle. Id.;see also DE 48-1,Ex.C . Itis notclearfrom the am ended com plaintorthe

  Padies'briefing why rem ovalproceedings were initiated againsta U.S.citizen.

         O n M arch 12,2017,M r.Creedle was arrested afteran alleged dom estic dispute

  and takentothe Miami-Dade Countyjail.(DE 48at10).Mr.Creedlewasnevercharged
  with an offense related to this arrest. Id. Thatevening,M iam i-Dade Corrections and

  Rehabilitation Depadment ('MDC'') officials fingerprinted Mr. Creedle and sent his
  fingerprints to DHS. Id.at4,10. On March 13,2017,M DC received an im m igration

  detainerrequestfrom M adinez,an im m igration enforcem entofficer,Iisting M r.Creedle

  asitssubject.Id.The ''RequestforVoluntaryTransfer''form statedthatMr.Creedlewas
  d'a rem ovable alien''undercivilim m igration Iaw and asked M DC to hold him forup to 48

  hours afterhe would otherwise be released from M DC'S custody. Id.at11.

        The detainer did not allege probable cause to believe that Mr. Creedle had

  com m itted a crim e,did notd'state facts am ounting to an individualized determ ination that
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                                              l

  there was probable cause to believe that(Mr.Creedle)was removable from the U.S.,''
  and did notstate that he posed a risk offlight. Id.at 11. Instead,the detainerform

  asserted that''lplrobable cause exists that(Mr.Creedle)is a removable alien''and,as
  suppod forthis assedion,a box on the form had been checked nextto an option stating

  thatICE'S probable cause was based on ''biometricconfirmation ofthe subject's identity
  and a records check offederaldatabases thataffirm atively indicate,by them selves orin

  addition to otherreliable information,thatthe subjecteitherIacks immigration status or
  notwithstanding such status is rem ovable underU.S.im m igration Iaw .'' Id..
                                                                              ,see also DE

  48-1,Ex.D.The form was signed only by M adinez.

        On the sam e day,M r.Creedle posted bond to be released from M DC. Id.at 11.

  M r.Creedle told M DC officials thathe was a U.S.citizen,butbecause ofthe IC E detainer,

  M DC refused to release him . Id.at10. Instead,M DC detained him untilthe follow ing

  day,March 14,2017,afterICE officials had interviewed M r.Creedle and w ithdrawn the

  detainerrequest. Id.at12.

        M r.Creedle alleges thatthe County re-arrested him on March 13,2017 pursuant

  to a recentchange in policy that,in effect,requires M DC staffto 'fhonoraIIim m igration

  detainerrequests.'' Id.at9.This policy reversed the County's previous policy,w hich had

  been in place since Decem ber2013 and significantlycircum scribed the County'sauthority

  to arrestindividuals pursuantto imm igration detainerrequests. Id.at7. The 2013 policy

  stated that MDC could honor detainer requests from ICE only if (1) Sl
                                                                      the federal
  governm ent agrees in writing to reim burse M iam i-Dade County for any and aIIcosts

  relating to compliancewith (ICE)detainerrequests';(2)'the inmate thatisthe subjectof
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  such a requesthas a previous conviction fora Forcible Felony ...'';and ())the inmate
  has,atthe time the County received the detainerrequest,'a pending charge ofa non-

  bondable offense .         M iam i-Dade Cty. Bd.of Com m 'rs,Resolution 1008-13,at 5

  (Dec.       2013), http://-    .miamidade.gov/govaction/legista/iles/MinMattersW zol3/
  132196m in.pdf. Because the federalgovernmentd'declined to reim burse the County for

  any expenses associated with detainers,'M DC stopped arresting individuals based on

  detainerrequests in January 2014. (DE 48 at7-8).
          In 2016,the Board ratified its position w hen itunanimously opposed dstatewide

  Iegislation thatwould preem ptits anti-detainerpolicy.'' Id.at8. Resolution 77-16,which

  the Board passed on January 20,2016,cited the factthatSlfederalcouds have found that

  localIaw enforcem entagencies thatdetain individuals on the sole authority ofa detainer

  requestviolate the Foudh Am endm entofthe U.S.Constitution,exposing such agencies

  to IegalIiabilityunlessthere has been anindependentfinding ofprobable cause tojustify
  detention.'' Id. The Board's resolution goes on to state thatS'while crim inaldetainers are

  subjectto multiple proceduralsafeguards,includingarequirementofcourtapproval,IICEJ
  detainerrequests Iack comparable protections ...Ebecause)a judge is notrequired to
  review orapprove an im m igration detainer.' M iam i-Dade Cty.Bd.ofCom m 'rs,Resolution

  77-16, at 5-6 (Jan. 20, 2016), http://-           .miamidade.gov/govaction/legistadiles/
  MinMattersW 2015/153028min.pdf. The Board noted thatd1a judge is notrequired to
  review orapprove an im m igration detainer,''and thata detainer ''m ay be issued by a

  single Immigrationl)and Customs Enforcementofficerwhen there are no immigration
  proceedings pending.'' Id.at6. ''Flhis process,'the Board found,'does notmeetthe
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   U.S. Constitution's m inim um standard for authorizing detention after an inm ate is

  scheduled to be released.'' Id.

          Despite the County'
                            sl clearposition on the Iegality and efficacy of honoring a4I

  detainerrequests,on January 26,2017,M iam i-Dade County M ayorG im enez reversed

  course,issuing a mem orandum to M DC thatordered itto ''honoraIIim m igration detainer

  requests.''(DE 48-1).2The directivewasnotprecededbyanypublicnoticeoroppodunity
  fordebate,nordid itm ention the Board's 2013 resolution Iim iting M DC'S authorityto hold

  people pursuant to detainer requests and the m yriad legal concerns with honoring

  detainers.

          O n February 17,2017,the Board ratified the M ayor's directive and amended its

  2013 Resolution (1008-13)to directthe Mayor''to ensure that,related to immigration
  detainerrequests,M iam i-Dade County ...is cooperating w ith the federalgovernm entto

  the extent perm issible by Iaw.'' Miam i-Dade Cty.Bd.of Com m 'rs,Resolution 163-17

  (Feb.17,2017),http://-           .miam idade.gov/govaction/maoer.asp?matter=l7o44o&file=
  false&yearFolder=Yzol.3 M DC is following the Mayor's directive- as rati
                                                                         fied by the

  Board's resolution- and,since January 26,2017,has m aintained a policy and practice




  1The Board's 2016 resolution- which expressed in no uncedain term s thatdetaining indivi duals on the
  sole basis ofan im migrati
                           on detaineris ill
                                           egal- was drafted by the Miam i
                                                                         -Dade County Attorney's Offi
                                                                                                    ce,
  which is now defending the County's currentpolicy and practi
                                                             ce ofhonoring aIldetainerrequests,

  2The Padies appearto agree thatthe Mayor's directi  ve- while clearly the impetus forthe County's policy
  reversal
         - did nothave the force ofIaw untilratified by the Board's resolution on February 17,2017.

  3 This resolution also states thatthe County 'swillcontinue to require the federalgovernmentto show
  probable cause on aIIimm igration detainerrequests.' Id.at5. Itis notclearwhetherthis probable cause
  requirementrefersto criminalmatters orci vilremovalproceedings, See infra note 11 and accom panying
  text.
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  ofre-arresting individuals in its custody aftertheircrim inalcustody has ended on the sole

   basisthatthe person isthe subjectofan immigration detainerrequest.
         M r. Creedle's am ended com plaint contains three counts against the County                .




  Counts Iand 11are broughtunder42 U.S.C.j 1983 and allege thatthe County violated
  Mr.Creedle'sFoudhand FoudeenthAmendmentrightsunderthe U.S.Constitution.(DE
  48 at12-13). Countlllis a claim forfalse imprisonmentunderFlorida law. Id.at14.
  Counts IV and V againstDHS and lCE each seek declaratory reliefand dam ages.; Count

  lv- broughtunderSection 70642)ofthe Administrative Procedure Act(''APA''
                                                                         )- seeksa
  declaratory judgment that ICE exceeded its statutory authority'
                                                                , Count V seeks a
  declaratoryjudgmentthatICE'Sactionsviolated Mr.Creedle'sFourthAmendmentrights.
  Id.at 15-16. Counts VIand VIIagainst Martinez are Bivens claim s brought underthe

  Fourth and Fifth Amendm ents,respectively. Id.at16-17.

         The amended complaint seeks: (1) a declaration that the County's policy of
  arresting people pursuantto immigration detainers is unlawful,(2)a declarationthatMr.
  Creedle's arrestpursuantto the detainerviolated his Fourth and Foudeenth Am endm ent

  rights and consti
                  tuted false imprisonmentunderFlorida Iaw,(3)a declaration thatthe
  detainer issued by ICE exceeded ICE'S statutory authority and violated M r.Creedle's

  Fourth Amendmentrights'
                        ,(4)a declaration thatMadinez violated Mr.Creedle's Foudh




  4Although the amended com plaintdoes notexplici
                                                tly requestreliefin the form ofdamages asto DHS and
  ICE,Counts IV and V both state that,as a resul
                                               tofICE'S allegedly unlawfulconduct,Plainti ff'suffered
  injuries,includingfinancial,pain andsuffering,humiliation,andemotionalharm.' (DE 48at15-16).Thus,
  the Coud willassume for purposes ofruling on ICE'S motion to dism iss thatPlaintiffintends to seek
  damages aswellas declaratory reliefagainstDHS and ICE.

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   and FifthAmendmentrights'
                           ,(5)monetarydamages againstthe County under42 U.S.C.
  j 1983.
        ,and (6)monetarydamagesagainstDHS,ICE,and Madinez.(DE 48 at18).
         AIIDefendants have moved to dism iss with prejudice. DHS and ICE moved to
  dismiss on the grounds that:(1)Mr.Creedle Iacks standing to seek declaratory relief
  because he is notIikel
                       y to sufferthe same injuryin the future'
                                                              ,(2)Mr.Creedle's request
  fordeclaratory reliefis mootbecause ICE has since altered its detainerpolicies'
                                                                                ,and (3)
  M r.Creedle has failed to state a claim because ICE'S issuance of the detainer was

  authorized by federalIaw and therefore did notexceed ICE'S statutory authority orviolate

  Mr.Creedle's FoudhAmendmentrights.s (DE 69 at7-11).
        The Countymoved to dismiss onthe groundsthat:(1)Mr.Creedle Iacksstanding
  to seekdeclaratory reliefbecause he is notIikelyto sufferthe same alleged injury inthe
  future'
        ,(2)there can be no municipalIiabilityforthe County underSection 1983 because
  an officialpolicy authorized by Iaw cannot be the ''proximate cause of a constitutional

  violation'';(3)the County's cooperation with ICE is expressly allowed underfederaland
  state Iaw,and'
               ,(4) the County's cooperation with ICE occurs under color offederal
  authority.(DE 70 at1).
         Madinez moved to dism iss on the grounds that:(1)Bivens does notapply in the
  contextofa wrongfulimmigration detainerissued by an imm igration officer,and;(2)
  Madinezisentitled to qualified immuni
                                      ty.(DE 68 at4,11).




  5Goingforward,foreaseofreferenceandbecause DHS and ICEfiledajointmotiontodismiss,references
  to ICE willmean,generally,DHS and ICE.
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         STANDARD OF REVIEW

          In ruling on a m otion to dism iss forfailure to state a claim underFederalRule of

   CivilProcedure 12(b)(6),the coud assumes as true alIwell-pled factualallegations and
   determ ines whetherthey plausibly give rise to an entitlem entforrelief. Ashcroftv./qba/,

   129 S.Ct.1937,1950 (2009). To survive a motion to dism iss,a complaintm ustcontain
   sufficientfacts to state a claim forreliefthatis plausible on its face. BellAtlantic Corp.v.

   Twombly,550 U.S.544,570 (2007). Plainti
                                         ffs make afacially plausible claim whenthey
   plead factualcontentfrom which the courtcan reasonably inferthatdefendants are liable

  forthe misconductalleged. Iqbal,129 S.Ct.at1949 (citing Twombly,550 U.S.at556).
   'The plausibility standard is notakinto a Sprobability requirem ent'butitasks form ore than

   a sheerpossibility thata defendanthas acted unlaw fully.' Id. ln determ ining whethera

   complaintstatesa plausible claim forrelief,the Coud drawson itsjudicialexperienceand
   comm on sense. Id.at1950.

         Although the coud resolves aIIdoubts or inferences in the plaintiff's favor,the

   plaintiffbears the burden to fram e the com plaintwith sufficientfacts to suggestthathe is

   entitled to relief. Twom bly,550 U.S.at556.A pleading thatoffers Iabels and conclusions,

   a form ulaic recitation ofthe elem ents ofa cause ofaction,ornaked assertions devoid of

  fudherfactualenhancem entwillnot stand. Id.at 557. Dism issalpursuantto a Rule

   12(b)(6)motion iswarranted 'donly ifitis clearthatno reliefcould be granted underany
   setoffactsthatcould be proved consistentw ith the allegations ofthe com plaint.''Shands

   Teaching Hosp.and Clinics,Inc.v.Beech St.Corp.,208 F.3d 1308,1310 (11thCir.2000)
   (quoting Hishon b'.King & Spalding,476 U.S.69,73 (1984)).

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         A challengeto subjectmatterjurisdiction underRule 12(b)(1)ofthe FederalRules
  of CivilProcedure m ay be presented as eithera facialorfactualattack.M cElm urray v.

  Consol.Gov'tofAugust-Richmond Cty.,501 F.3d 1244,1251 (11th Cir.2007). Facial
  attacks challenge subjectmatterjurisdiction based on the allegations in the complaint,
  which the districtcoud takes as true w hen considering the m otion. Lawrence B.Dunbar,

  919F.2d 1525,1529 (11th Cir.1990).lncontrast,factualattackschallenge the existence
  of subjectmatterjurisdiction in fact,and in such cases ''no presum ptive truthfulness
  attaches to plaintiff's allegations.' Id. The Eleventh Circuit has held that '
                                                                               dthe pady

  invoking the coud'sjurisdiction bears the burden ofproving,by a preponderance ofthe
  evidence,facts suppoding the existence offederaljurisdiction.''Mccormick B.Aderholt,
  293 F.3d 1254,1257 (11th Cir.2002).
  111.   DISCUSSION

         The Coud first addresses M r. Creedle's claim s fordeclaratory relief, and the

  corresponding issues ofstanding and m ootness,in Sections III.A .1 and lII.A.2 below,as

  these arguments raise threshold challenges to the Coud's ability to adjudicate certain
  claim s.Then,in Sections III.B and llI.C,the Courtaddresses CountIv- an APA claim -

  and CountV- a Foudh Am endm entclaim- againstDHS and ICE. Next,in Section III.D,

  the Coud addresses Counts Iand Il- Foudh and Foudeenth Amendm entclaim s under

  Section 1983- againstthe County. ln Section IIl.E,the Coud addresses Count lII- a

  claim for false im prisonm ent- againstthe County. Finally, in Section III.F,the Coud

  addresses Counts VIand V ll- 8jlens claim s underthe Foudh and Fifth Am endm ents-

  againstM artinez.


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      A. Claim s forDeclaratory Relief

         As discussed above,M r.Creedle brings claim s fordeclaratory reliefagainstboth

   the Countyand ICE.Astothe County,he seeksa declaratoryjudgmentconcerning b0th
   future and pastconduct'
                         ,he requests a declaration thatthe County's policy and practice

   of arresting people on im m igration detainers is unlawful,and thatits re-arrestofhim in

   M arch 2017 pursuantto ICE'S detainerviolated his rights underfederaland Florida Iaw.

   As to ICE,however,Mr.Creedle seeks a declaratoryjudgmentregarding pasfconduct
   only- that ICE'S issuance of his detainer was unlawful. Defendants insist that Mr.

   Creedle Iacks standing to pursue anydeclaratoryclaim sand thataIIsuch claim sare m oot.

             1. M r.Creedle Has Standing to Seek Prospective Declaratory Relief

         The County and ICE argue thatM r.Creedle Iacks standing to obtain declaratory

   reliefbecause he hasnotalleged,andcannotshow,a sufficientIikelihood offuture injury
   from the challenged conduct:detention pursuantto a detainer.(DE 69 at8'
                                                                         ,DE 70 at7).
   According to Defendants,there is no ''realand imm ediate threat''that M r.Creedle will

   everagain be arrested and then held pursuantto a detainer.

         To suppod theirargum ent,Defendants cite to a declaration by Dean Caputo,an

   ICE officer,which states thatdslulpon information and belief, ICE (Enforcement and
   RemovalOperations)database records state thatthe Plaintiff,Garland Creedle,is a
   United Statescitizen.' (DE 69-1). Fudher,Defendantsargue thatMr.Creedle is unlikely
   to be held pursuantto a detaineragain because he is a U.S.citizen. (DE 1O1 at3'
                                                                                 ,DE
   1OO at3). The County also argues thatthe factthatMr.Creedle was arrested again
   during this Iitigation- t'no detainerwas Iogged,and he was released the very nextday


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   afterposting bondn- dem onstrates thathe is notIikely to be held by the County pursuant

   to a detainerinthe future. (DE 101at3-4). ICE fudherassedsthatMr.Creedle cannot
   demonstrate standing because he l'can avoid any potentialinjury associated with any
   hypothetical future detainer by refraining from fudher crim inal conduct and getting

   arrested again.'' (DE 100 at3)(emphasis in original). In shod,Defendants argue that
   declaratory relief is im proper because Plaintiffcannotshow a ''likelihood ofsubstantial

   and immediate irreparable injury.'' (DE 69 at8)(quoting O'Shea v.Littleton,414 U.S.
   488,495-96 (1974)).
         M r.Creedle argues that he has standing to seek declaratory relief because the

   amended com plaintcontains allegations thatsupporta ''reasonable inference''thathe will

   ''again sufferfuture injuryfrom the (Dlefendants'conduct.''(DE 87 at6).Specifically,Mr.
   Creedle contends thathis priorhistory w ith the im m igration system - being forced into

   removalproceedings and Iater arrested pursuant to a detainer despite being a U.S.

   citizen- suppods an inference thathe is sufficiently Iikely to be subjectto a detainer
   again. M r.Creedle fudherargues that itwould be prem ature to dism iss his claim s for

   declaratory reliefatthis stage.

         ''Standing is the threshold question in every federalcase,determ ining the power

   ofthe coud to entedain the suit.''CAMP LegalDeL Fund,Inc.v.City ofAtlanta,451 F.3d

   1257,1269 (11th Cir.2006)(quoting W arth v.Seldin,422 U.S.490,499 (1975)).Adicle
   IIIstanding hasthree elements:''ljhe plaintiffmusthave (1)suffered an injury infact,(2)
   thatisfairlytraceable to the challenged conductofthe defendant,and (3)thatis Iikelyto
   be redressed bya favorablejudicialdecision.'' Spokeo,Inc.v.Robins,136 S.Ct.1540,

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   1547 (2016),as revised (May 24,2016)(citing Lujan v.Defenders ofWildlife,504 U.S.
   555,560-561 (1992)).To satisfythefirst'sinjury''element,the plaintiffm ustdemonstrate
   thatthe injury affectsthe plaintiffin a personaland individualway. Id.at1548.
                                                                               ,see also
   Valley Forge Christian College v.Am ericans United for Separation ofChurch and State,

   Inc.,454 U.S.464,472 (1982)(standing requiresthattheplaintiff''personallyhassuffered
   some actualorthreatened injury'').
         'Article IIIofthe U.S.Constitution Ilimitsthe jurisdiction offederalcourts to cases
   and controversies.'' Hadford Cas.lns.Co.v.Intrastate Const.Corp.,501 F.App'x 929,

   937 (11th Cir.2012)(quoting Christian Coal.ofFIa.,lnc.v.United States,662 F.3d 1182,
   1189(11thCir.2011)).'dsimilarly,28 U.S.C.j2201providesthata declaratoryjudgment
   m ay only be issued in the case ofdactualcontroversy,'thatis,a 'substantialcontinuing

   controversy    between     padies     having     adverse      Iegal    interests.''   Id.

   (quoting Emory v.Peeleri756 F.2d 1547,1551-52 (11th Cir. 1985)). l'This dcontinuing
   controversy may notbe conjectural,hypothetical,orcontingent'
                                                              ,it must be realand
   immediate,and create a definite,ratherthan speculative threatoffuture injury.''' Id.
   (quoting Emory,756 F.2d at1552). 'Although a case may have involved an actual
   controversy initially, the case becomes moot dwhen it no longer presents a Iive

   controversywith respectto which the coud can give meaningfulrelief.'''Id.(quoting Zinni
   v.ER Solutions,Inc.,692 F.3d 1162,1166 (11th Cir.2012),
                                                         .see also Christian Coal.of
   FIa.,Inc.,662 F.3d at1190 (statingthat,forpurposes ofAdicle 111,l
                                                                   dthe controversymust
   be extantataIIstagesofreview,notmerelyatthe time the complaintisfiled'
                                                                        ').



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         '''A pady has standing to seek injunctive relief only if the pady alleges, and
   ultimately proves, a real and im m ediate as opposed to a merel
                                                                 y conjectural or
   hypothetical- threatoffuture injury.'''J + by & through Tammy W lliams v.Birmingham
   Bd.ofEduc.,No.15-14669,2018W L4560682,at*11 (11th Cir.2018)(quoting Church
     City ofHuntsville,30 F.3d 1332 (11th Cir.1994)). 'I
                                                       W hetherafuture injury is Iikely to
   occur in partdepends on whetherthe m isconductalleged is authorized by orpartofa

   governmentpolicy.''Id.at*11 (citing 31 FosterChildren v.Bush,329 F.3d 1255,1266
   (11th Cir.2003)). t'W hen alleged misconduct is 'authorized orpad ofa policy,itis
   significantly more Iikelythatthe injurywilloccuragain.'''Id.'$On the otherhand,iffuture
   injury is based onthe occurrence ofa random orunauthorized act,then the injuryis'too
   speculative'forstanding purposes.' Id.

         Here,''treating the allegations in the com plaintas true and Iiberall
                                                                             y construing the

   com plaint in favor of''M r.Creedle,this Coud concludes that the amended com plaint

   containsallegations''whichcould reasonablysuppod afinding that(Mr.Creedle)Iis)Iikely
   to be subjectto future injury from the application ofthe (policylIhe)challengelsl.' See
   Malowney v.Fed.Collection DepositGrp.,193 F.3d 1342,1347 (11th Cir.1999)(11(l)n
   orderforthisCoudtohavejurisdictionto issuea declaratol
                                                        y judgment...(Plainti
                                                                            ffsjmust
   assed a reasonable expectationthatthe injurythey have suffered willcontinue orwillbe
   repeated inthe future.'').
         First,M r.Creedle alleges thathe has already been wrongfully detained twice. In

   2015,M r.Creedle was ''arrested'
                                  'and putin S'adm inistrative rem ovalproceedings before

   an immigration judge.'' (DE 48 at10). These proceedings were terminated afterDHS

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   filed a m otion stating thatM r.Creedle is a U S.ci
                                                     tizen. /d. Mr.Creedle allegesthat''toln
                                                      .




   April30,2015,an imm igration judge granted the federalgovernment's motion and
   terminated proceedings against Ehiml.' /d. The County nonetheless re-arrested Mr.
   Creedle pursuantto a detainertwo years lateron the grounds thatICE had ''probable

   cause''to believe thathe was S'rem ovable underU.S.im m igration Iaw.''Id.at11 6 Though     .




   notdispositive ofthe issue,M r.Creedle's prior history of being held unnecessaril
                                                                                   y for

   alleged im m igration purposes- twice in two years- strongly underm ines Defendants'

   contention thata repeatdetention is l'highly unlikely''and suggests thatM r.Creedle is

   susceptible to being held pursuantto a detainerin the future.

          Second,atthis stage,Defendants'contention thatICE'S records tsnow 'reflectthat

   M r.Creedle is a U.S.citizen cannotdefeatstanding because M r.Creedle- a U.S.ci
                                                                                 tizen

   since bidh- was already incorrectly placed in im m igration rem ovalproceedings in 2015

   and then was unjusti
                      fiably held pursuantto a detainerin 2017. Atthis juncture,the
   declaration from Caputo is insufficientto defeatstanding because itis woefull
                                                                               y deficient


   6Madinezcl
            aimsthatthe detainerhe si
                                    gned and issued forM r.Creedle was suppoded by probable cause
   thathewasremovable basedontwogrounds:(1)thatMr.Creedl
                                                       ewasborn inHonduras,and (2)thatMr.
   Creedle was arrested and therefore would be rem ovable ifultim ately convicted ofone ofcedain crimes
   enumerated in the lmmigration and NationalityAct(d
                                                    lINA''). (DE 68 at17). Althoughthe Courtneed not
   reach the issue ofwhether Madinez had probable cause to issue the detainer against Mr. Creedle,
   Martinez'sstated groundsforprobable cause are insufficientas a matterofI
                                                                          aw.

   First,the Supreme Coud has held thatan indi  vidual's place ofbidh is insufficienttojustify a reasonable
   beliefthatthe individuali
                           s an ''alien.'' See United States v.Brignoni-ponce,422 U.S.873,886 (1975)
   (holding thata person'sancestry,orapparentancestry,is insuffi  cienttojustifyeithera reasonable belief
   thattheperson isan''alien,'orareasonable beliefthatthe personisotherwise engaged in illegalactivi    ty).
   Fudher,Madinez'scontenti  on thathe had probable cause based on M r.Creedle's arrestbecause hisarrest
   demonstrated thatM r.Creedle could eventually be convicted ofa certain offense and thereby rendered
   removable- assuming he was nota U.S,citizen- also fails as a m atterofIaw because probabl    e cause
   m usthave existed atthe tim e Madinez issued the detainer. See,e.g.,United States v.Hansen,652 F.2d
   1374,1388 (10th Cir.1981)('
                             llplrobabl
                                      e cause mustexistatthe momentofthearrest.n). Martinezcould
   nothave had probable cause to believe thatMr.Creedle was removable when he issued the detainerifthe
   removabilitywas contingenton a future conviction.
                                                     14
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   in inform ation. The declaration fails to state w hatthe I'ICE ERO database records'
                                                                                      'are,

   w hetherthis is the onl
                         y database upon which lCE officers rely before issuing detainers,

   w hen the ICE ERO database was allegedly updated to reflectthatM r.Creedle is a U.S.

   citizen,or how the database works. A cursory statem entthat one of IC E'S databases

   reflects thatM r.Creedle is a U.S.citizen does notovercom e the factualallegations in the

   am ended com plaintsupporting an inference thathe is sufficiently Iikelyto sufferthe sam e

   injury in the future. See Roy v.Cfy.ofLosAngeles,No.CV-1209012-AB-FFMX,2018
   W L 914773,at*19 (C.D.Cal.Feb.7,2018),reconsideration denied,No.CV-1209012-
   AB-FFMX,2018 W L 3439168 (C.D.Cal.July 11,2018) (denying ICE'S motion for
   summaryjudgmentasto the plaintiffs'FoudhAmendmentclaims on the groundsthat$a
   factualdispute exists as to the reliability ofthe databases thatICE uses ...to establish

   probable cause''because plainti
                                 ffs presented evidence that 'ICE encounters errors in

   (one database,)CIS(,)inapproximatelythree outoften cases''l.;
          M r.Creedle's status as a U.S.citizen is also notdeterm inative ofw hetherhe is

   Iikely to be held pursuant to a detainer in the future because,as other couds have

   recognized,U.S.citizens are frequently held pursuantto detainers. See,e.g.,Uroza v.

   SaltLake Cty.,No.2:11CV713DAK,2014 W L4457300,at*5 (D.Utah 2014)(ldBetween
   2008 and 2012,ICE issued detainers againstm ore than 800 U.S.citizens and 28,000

   Iegalpermanentresidents.'l;see also Moralesv.Chadbourne,2014 W L554478,at*14-


   7 In Roy,ICE did notdispute thatthere are atIeastfourdatabases that ICE requires 'agents issuing
   detainers on the basis ofelectronic database checks alone to check ...priorto i
                                                                                 ssuing a detainer.''Roy,
   2018 W L 914773,at*19. 'Those databases are the following:(1)CentralIndex System ('CIS'),(2)
   ComputerLinked Applicati
                          on Information ManagementSystems ('CLAIMS'),(3)Treasury Enforcement
   CommunicationsSystem ('TECS'),and (4)EnforcementCaseTrackingSystem ('ENFORCE'I/EARM.' /d.
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   15 (D.R.I.Feb.12,2014)(finding thata U.S.citizen who was arrested by locallaw
   enforcem entpursuantto a detaineron two separate occasions had standing to seek an

   injunction halting the unlawfuluse ofdetainers againsther). Indeed,Mr.Creedle has
   already beensubjectto a detainerdespite imm igration officials allegedlyknowingthathe
   is a U.S.citizen.

         Fudher,M r.Creedle's 2018 arrestand release withoutbeing held pursuantto a

   detainerdoes notunderm ine M r.Creedle's standing'
                                                    , itdoes notestablish thathe willnot

   be held pursuantto a detaineragain. M oreover,the Courthas no inform ation regarding

   whether a detainerwas issued,w hy M r.Creedle was released,or ifthe County even

   noti
      fied ICE that Mr.Creedle was in its custody. In shod,the factualcircumstances

   related to this arrestare fartoo unclearto inferthatthe Iikelihood ofM r.Creedle being

   held pursuantto a detaineragain is now 'too speculative''to conferstanding.

         ICE and the County rely on the Supreme Courtcase Los Angeles B.Lyons,461

   U.S.95 (1983),to suppod theirargumentsthatMr.Creedle- given Defendants'factual
   argumentsabove- hasfailedto demonstrate thathe is''Iikelyto sufferfuture injury''from
   Defendants'conduct. In Lyons,the plaintiffalleged thatpolice officers injured him by
   subjecting him to a chokehold withoutjustification and thatofficers in the City regularly
   used such chokeholds pursuantto the authorization and instruction ofthe City. Id.at98.

   Lyons''soughtdeclaratoryjudgmentthatthe use ofchokeholdsabsentproperjustification
   was a perse violation ofconstitutionalrights and an injunction barring the city officers
   from using chokeholdsabsentjustificationa''Uroza,2014W L4457300,at*5 (citingLyons,
   461 U.S.at 98). Butthe Supreme Coud held thatLyons Iacked standing to obtain

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   injunctive relief because of the ''speculative nature of his claims that he willagain
   experience injury as a resultofthatpractice even i
                                                    fcontinued.'' /d.(quoting Lyons,461
   U.S.at109).
          In Uroza,the districtcoud explained w hy the plaintiffin Lyons is fardifferent, for

   standing purposes,from a plainti: Iike M r.Creedle,who challenges a blanketpolicy of

   honoring allim m igration detainers asfacially unconstitutional.Uroza,2014 VVL 4457300,

   at*5. First,the coud stated that'
                                   dafterLyons,severalfederalcourts have held thatthe

   victim ofanestablished governmentpolicy can sue to enjointhatpolicyeven i
                                                                           fhe would
   notagain besubjecttoitunlessarrested oncemore.''Id.'dl-yons,itself,heldthatplaintiffs
   Iackstandingtoenjoin incredible orunbelievable policiesthatdonotposea realisticthreat
   to them .''Id.W hile the Suprem e Coud in Lyons 'thoughtitdincredible'thatLAPD officers

   always choked citizens they encountered orthatthe City authorized them to actin that

   m anner,''the plaintiffin Uroza did t'notchallenge a sporadic practice ...butanestablished

   governmentalpolicy.''Id.(quotingLyons,461 U.S.at106)(ld
                                                         W hen aforeign-born person
   Iackingproofofstatusenters SaltLake Countyjailcustody,itisnotspeculation buta near
   cedainty thatthejailwillnotify ICE,ICE willissue a detainer,and the jailwillhonorthe
   detainerto extend the person's incarceration.''). ''
                                                      W hile itwas conjecture forthe plaintiff
   in Lyons to claim thatthe LAPD would actunconstitutionally 'in every instance ofa traffic

   stop,arrest,orotherencounter,'''the coud in Uroza explained,d'itis a nearcedainty that

   IICE)willcontinueto issuedetainerswithoutprobable cause and basedonlyon perceived
   nationalorigin orethnicityv''Id.(quoting Lyons,461 U.S.at106,n.7).



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          Sim ilarly,in M ora/es,2014 W L 554478,at*14-15,a U.S.citizen who was arrested

   by IocalIaw enforcem entpursuantto a detaineron two separate occasionsw as found to

   havestandingtoseekaninjunction haltingthe unlawfuluseofdetainersagainsther.The
   coud found thatthe plainti
                            ffhad standing because she setfodh d
                                                               'plausible allegationsthat

   the threatofa repeat,unlawfuldetention is realistic.'' Id.at*37'
                                                                  ,see also,e.g.,M ack B.

   Suffolk County,191 F.R.D.16,20 (D.Mass.2000)(findingthatplainti
                                                                 ffshad standing to
   seek injunctive reliefagainsta policy ofstrip-searching aIIwomen detained ata county
   jailafterbeing arrestedl;Georgia Latino AII.forHum an Rights v.GovernorofGeorgia,
   691 F.3d 1250,1259 (11th Cir.2012)(affirm ing the districtcoud's finding thatplaintiffs
   hadstandingto enjoinenforcementofcedain Immigration and NationalityActprovisions,
   one ofwhich authorized S'Iaw enforcem entofficers to investigate the im m igration status of

   crim inalsuspects where the officerhas probable cause to believe the suspectcom m itted

   anothercriminaloffense'
                         ').
          In Georgia Latino Alliance,the Eleventh Circuit addressed and rejected the
   defendants'argum ent- identicalto the County and ICE'S argum ent- that the plaintiffs

   Iacked standing to challenge a Iaw ifthey would first need to be arrested before the

   challenged provisionwould betriggered.691F.3d at1259 (citing O'
                                                                 Shea v.Littleton,414
   U.S.488,497 (1974))(1'The State Officers fudhercontend thatwe mustassume that
   Plaintiffs w ill conduct their activities within the Iaw and so avoid prosecution and

   conviction.''). The Eleventh Circuit explained that l'lwlhereas in Littleton the alleged
   unconstitutionalconductcould only resultfrom an actualIegalviolation,prosecution,and

   convictionforthatcrime,here alIthatis necessaryforapplication (ofthe challenged Iaw)

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   isanofficer'sfinding ofprobable cause thata Iegalviolationhasoccurred,' Id.(emphasis
   in original).
          The Coud agrees w i
                            th the decisions in Georg/a Latino Alliance,M orales,Uroza

   and othercases thathave found thatplaintiffs have standing forprospective declaratory

   reliefundersim ilarcircum stances. M r.Creedle is notchallenging a sporadic,random

   practice ofgovernment officers gone rogue,butan established,blanket County policy

   that requires M DC officials to honor aIIdetainers and effectively re-arrest and detain

   anyone who isthe subjectofa detainer. This case is notlike Lyons,where the plainti;
   challenged a valid policy that, on rare occasions, resulted in an unconsti
                                                                            tutional

   application of thatpolicy because of police officers'unjustified conduct. Here, Mr.
   Creedle challenges the County's currentpolicy and practice ofhonoring alIdetainers as

   unlaw fulin alIcircum stances because detainers do notevince probable cause ofa crim e.

          Fudher,contrary to ICE'S argum ent,M r.Creedle 'need notbreak the Iaw to end

   up in this si
               tuation again'
                            ,a police officerneed m erely think he did.'' Uroza,2014 W L

   4457300,at*5. Mr.Creedle's Iikelihood offuture injury is akin to thatofthe plaintiffin
   Morales,whowasfoundto havestandingtoseekinjunctive reliefbecause lsshewastwice
   unlaw full
            y detained based on flawed im m igration detainers.'' M ora/es,996 F.Supp.2d

   at37.Therefore,the Coud finds thatM r.Creedle has setforth plausible allegations that

   he ''remains vulnerable to being the subjectof(a)detaineragain,notleastbecause he
   wassubjectto one before.''Uroza,2014 W L4457300,at*5.
         Accordingly,the Courtfinds that,atthis early stage ofthe Iitigation,and viewing

   the facts alleged in the am ended com plaintin the Iightmostfavorable to M r.Creedle,he


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   has alleged factsdemonstrating thathis injury is sufficiently Iikely to occuragain and he
   therefore has standingto proceed w ith his claim sfoçprospective declaratoryreliefagainst

   the County. As explained below,however,M r.Creedle cannotseek declaratory relief

   solely on the grounds thatDefendants'pastconductwas unlaM ul.

             2. M ootness

         The County and lC E also argue thatM r.Creedle's claim s fordeclaratory reliefare

   mootbecause''ICE haschanged itsdetainerpolicies.'(DE 69at9'
                                                             ,DE 70 at8,n.9).The
   County and lCE contend that,as ofApril2,2017,''ICE detainers m ustbe accom panied

   by a signed administrative warrantofarrestissued under8 U.S.C.j 1226 orj 1231(a).''
   (DE 69 at 10). The County and ICE also argue that because Mr. Creedle seeks
   declaratory reliefregarding pastconduct,the requested ''declarations''are im perm issible.

   (DE 70 at9).
          M r.Creedle,on the otherhand,argues thatdeclaratory reliefis proper because

   this is a ''classic case of unlaw fulgovernm ent action that is capable of repetition,yet

   evading review.'' (DE 89 at 17) (quotations omitted). As to the County,Mr.Creedle
   contendsthatthe change in ICE'S policy is irrelevantbecause the l
                                                                   tadm inistrative warrants

   in no wayalterthe County's policy ofcom plying with im m igration detainerrequests,which

   is the only policy being challenged.'' Id.at 19. As to ICE,M r.Creedle subm its thathis

   claim s are notm ootbecause he is arguing thatICE'S t'specific issuance ofthe detainer

   againsthim ...violated statutory Iaw and (his)constitutionalrights.''(DE 87 at9).
         'A case becom es m oot--and therefore no Ionger a 'Case'or tcontroversy'for

   purposes ofAdicle Ill- iwhen the issues presented are no longerIive orthe padies Iack


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   a Iegally cognizable interestin the outcom e.'''A/ready,LLC v.Nike,Inc.,568 U S.85,91
                                                                                .




   (2013)(quoting Murphy v.Hunt,455 U.S.478,481 (1982))(internalquotation marks
   omitted).The mootness doctrine issubjectto certainexceptions,however.
         TheSupreme Coud hasrecognized''anexceptionto thegeneralrul
                                                                  e (ofmootness)
   in cases thatare dcapable of repetition,yetevading review .''' M urphy,455 U.S.at482

   (quoting Weinstein v.Bradford,423 U.S.147,149 (1975)).To establish standing based
   on thisdoctrine,a plaintiffmustshow that1.41)the challenged action was in its duration
   too shod to be fully Iitigated priorto its cessation orexpiration,and (2) there was a
   reasonable expectation thatthe same complaining padywould be subjected tothe same
   action again.'' Id.(citationsomittedl;see also Fla.Rightto Life,Inc.v.Lam ar,273 F.3d
   1318,1324,n.6 (11th Cir.2001)(same).Thus,underthisexception,Mr.Creedle must
   show:(1)thathis detention pursuantto the detainerwas too shod to be fully Iitigated
   before it ended,and (2)that he has a reasonable expectation thathe willagain be
   arrested pursuantto a detainer.

                       a. M r. Creedle's Claim s Against the County for Prospective
                          Declaratory Reliefare NotM oot

         The Coud agrees with M r.Creedle's argum entthatthis case presents the sod of

   injury thatis l
                 tcapable ofrepetition,yetevading review.'' Detainers,by theirnature,are
   meantto resultin an individualbeing held on behal
                                                   fofICE forno m ore than 48 hours.

   Because 48 hours is an insufficient period in w hich to Ii
                                                            tigate a case challenging a

   detainer,the firstprong ofthe exception to the m ootness doctrine is m et. The County's

   cursoryargument- presented in a footnote in theirm otion to dism iss- thatM r.Creedle's

   claim s fordeclaratory reliefare m ootbecause lCE changed its detainerpolicy to require

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   an accom panying adm inistrative warrant is also unpersuasive. The change in ICE'S

   policy,which is not binding on that agency and could be rescinded at any time, is

   irrelevantto the County's challenged policy ofhonoring detainers. See (DE 87 at10)*
                                                                                     ,
   see also ICE Policy Num ber 10074.2, Issuance of Im migration Detainers by ICE

   Immigration Omcers(April2,2017),at6('sThisdocumentprovidesonlyinternalICE policy
   guidance,whichmaybe modified,rescinded,orsuperseded atanytime withoutnotice.'),
   https://-   .ice.gov/sites/defaulvfiles/docum ents/Docum envzol7/loo74-z.pdf.

   Therefore,the argum entthatM r.Creedle's claim sfordeclaratory reliefare m ootbecause

   ICE has changed its detainerpolicy during the course ofthis Iitigation is unpersuasive.

          Fudher,there rem ains an active case and controversy because M r.Creedle is

   challenging a County policy thatrem ains in place and,asdiscussed in Section III.A .1,Mr.

   Creedle hassufficientlyallegeda Iikelihoodthathewillagainbe subjecttothesame injury
   as a result ofthe County's challenged conduct. Accordingly,the Coud finds that M r.

   Creedle's claim s againstthe County forprospective declaratory reliefare notm oot.

                       b. M r.Creedle's Claim s AgainstDHS and ICE forRetrospective
                          Declaratory Reliefare M oot

          To the extentthat M r.Creedle requests a declaration from this Courtrelated to

   pastconductalone,such declaratory reliefis mootand those requests are denied. See

   Em ory,756 F.2d at1552,
                         .see also M alowney k'.Fed.Collection DepositGrp.,193 F.3d

   1342,1348 (11th Cir.1999)(''(A)declaration thatthe (challenged)statute as applied in
   the pastto these plaintiffs is unconstitutionalwould (belnothing more than a gratuitous
   commentwithoutanyforce oreffect.'')(internalquotationsom itted).


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           M r.Creedle's am ended com plaintspecifically highlights the factthathe seeks a

   declaration onl
                 y as to ICE'S pasfconduct. (DE 48 at18)('lplaintiffrespectfully requests
   thatthis Court...(dleclare thatICE'S issuance ofa detaineragainstPlaintiffexceeded
   the agency's statutory authority and violated the FoudhAmendm entbecause itpurported

   w ithout lawful authority to authorize Plaintiff's arrest and detention by the County '
                                                                                         ')         .




   (emphasisadded).Accordingly,Mr.Creedle'sdeclaratoryjudgmentclaimsthatseekonly
   retrospective declaratory relief,asthe claim s in Counts IV and V appearto,are dism issed

   as moot.8 The Coud does notfind,however, thatM r.Creedle's claims fordam ages in

   Counts IV and V againstDHS and ICE are m oot.

       B. CountIV:Adm inistrative Procedure Act

           Mr.Creedle brings CountIV againstICE pursuantto the APA,5 U.S.C.jj 101-
   913,which governs the conductoffederaladm inistrative agencies.The APA perm its a

   coud to ''hold unlawfuland setaside agency action,findings and conclusions found to be

   arbitrary,capricious,an abuse ofdiscretion,orotherwise notin accordance w i
                                                                             th Iaw .'' 5

   U.S.C.j706(A).TheAPA providesforjudicialreview ofaIIl'
                                                        finalagencyactionforwhich
   there is no otheradequate remedy in coud,''id.j 704,exceptwhen t'statutes preclude




   8 Itappears thatM r.Creedl
                            e seeks b0th prospective and retrospective declaratory relief in the claims
   againstthe County. (DE 48 at18)(iiplaintiffrespectfully requests thatthis Court...(dleclare thatthe
   County's arrest of Mr. Creedle pursuant to ICE' S imm igration detainer request violated his Foudh
   Amendmentrightto be free from unreasonable seizure,violated his substantive due process rightunder
   the Foudeenth Amendmentto be free from false im prisonment,and constituted fa6
                                                                                se im prisonmentunder
   Florida I
           aw.')(emphasisadded).Assuming this i
                                              sthecase,anyretrospecti
                                                                    vedecl
                                                                         aratoryjudgmentclaim
   againstthe County is al
                         so dism issed as mootforthe reasonsstated in this Section lII.A.2.b.



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   judicialreview''orthe l
                         'agency actionis committed to agency discretion by Iaw,'id.5
   701(a).9
          M r.Creedle asseds that ICE Iacked authority to issue a detainer against him

   because ICE did so withoutawritten agreementwith the County pursuantto 8 U.S.C.j
   1357(g).(DE 48at15).Mr.Creedle also arguesthatICE exceeded itsstatutoryauthority
   under Section 1357 when it issued a detainer against him without probable cause

   determ ined by a neutral and im partial m agistrate and without ''any individualized

   assessmentofhis riskofflight.'' (DE 48 at11).Although Mr.Creedle does notspecify
   underwhich subsectionofSection706(2)CountIV isbrought,the Courtwillassumefrom
   the Ianguage used throughoutthe am ended com plaintthatthe intended section is Section

   7O6(2)(C),which addresses agency action d'in excess ofstatutoryjurisdiction,authority,
   orIimitationsa''5 U.S.C.j 706(2)(C). ICE contendsthatMr.Creedle hasfailedto state a
   claim underthe APA because ICE was w ithin i
                                              ts statutory authority underSection 1357

   w hen i
         tissued the detainerforM r.Creedle and,thus,did notviolate M r.Creedle's Foudh

   Am endm entrights.




   9Section 706 ofthe APA states thata reviewing courtshalll
                                                           'hold unlawfuland setaside agency action,
   findings,and conclusions found to be-
      (A)arbitrary,capricious,anabuseofdiscretion,orotherwisenotinaccordancewithIaw;
      (B)contrarytoconsti  tutionalright,power,privilege,orimmunity'
                                                                   ,
      (C)inexcessofstatutoryjurisdiction,authority,orIimi  tati
                                                              ons,orshodofstatutoryright;
      (D)withoutobservance ofprocedurerequired byIaw.'
   5U.S.C.j706(2)(A)-(D),

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               1. ICE'S Authority to Issue Detainers

           Under8 U.S.C.j 1226(a)ofthe Immigrationand Nationality Act(dilNA''),'
                                                                               danalien
   m ay be arrested and detained''while awaiting a rem ovaldecision,butthe arrestm ustbe

   pursuant to $$a warrant issued by the Attorney General.nlo 8 U.S C.j 1226(a). An
                                                                                  .




   exception to this warrantrequirementis found in Section 1357(a)(2),butthatprovision
   allows for a warrantless arrest only if lCE has ''reason to believe'
                                                                      'that the suspected

   rem ovable individuall'is Iikely to escape before a warrantcan be obtained forhis arrest.''

   8 U.S.C.j 1357(a)(2).The Partiesdo notdisputethatthe detainercausing Mr.Creedle's
   re-arrest was not accompanied by a warrant. Thus, in effectuating M r. Creedle's

   warrantless arrest,lCE wasrequired to complywith Section 1357(a)(2).
          Several couds have found that, without a determ ination that a suspected

   rem ovable individualis ''Iikely to escape before a warrantcan be obtained,''ICE exceeds

   its statutory authority under Section 1357(a)(2) by issuing a detainer against such
   indi
      vidual.See,e.g.,Moreno v.Napolitano,213 F.Supp.3d 999 (N.D.111.2016)(holding
   thatdetainers are invalid forexceeding ICE'S statutory authority because there was no

   determination ofIikelihood ofescapel;De La Paz 1.Coy,786 F.3d 367,376 (5th Cir.
   2015)(dllEjvenifanagenthasreasonable belief,before makinganarrest,there mustalso
   be a Iikelihood ofthe person escaping before awarrantcan be obtained forhis arrest.'')
   (internalquotationsomittedl'
                              ,United Statesv.Cantu,519 F.2d494,496-97 (7thCir.1975)
   (holding thatthe statutory requirementofIikelihood ofescape in 8 U.S.C.j 1357 $'is

   10Although the INA refers to the 'Attorney General'throughout,im migration enforcementresponsibilities
   were transferred to the Secretary ofDHS in 2002.
                                                  ,therefore,references to the AttorneyGeneralnow mean
   the SecretaryofDHS and hersubordinates. See 6 U.S.C.j5 202,291,557,
                                                                     .seealso Clark v.Martinez,
   543U.S.371,374,n.1(2005).
                                                    25
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   always seriously applied''l'
                              ,Mountain High Knitting,Inc.v.Reno,51 F.3d 216,218 (9th
   Cir.1995)('dsection 1357(a)(2)requiresthatthe arresting officerreasonably believe that
   the alien is in the country illegally and thatshe dis likely to escape before a warrantcan

   be obtained for(her)arrest.''')(quoting 8 U.S.C.j 1357(a)(2)) (emphasis in originall;
   Yesfoverv.Reno,202 F.3d475,479-80 (1stCir.2000)(notingthatan imm igrationarrest
   wasdlin directviolation'
                          'ofSection 1357(a)(2)because''lwlhile lNS agents may have had
   probable cause to arrest(plaintiq by the time they took herinto custody,there is no
   evidence that(plainti
                       fl was Iikely to escape before a warrantcould be obtained forher
   arrest'').
          In Moreno v.Napolitano,the courtgranted summaryjudgmentforplaintiffs- one
   ofw hom was a U.S.citizen- w ho w ere held by IocalIaw enforcement after lCE had

   issued detainers againstthem . Morer?o v.Napolitano,213 F.Supp.3d 999 (N.D.111.
   2016). The plainti
                    ffs in Moreno broughta claim underSection 706(2)(C)ofthe APA
   alleging that ICE'S policy of issuing detainers exceeded its statutory authority under

   Section 1357(a)(2) because lCE failed to make a determination dlthatthe suspected
   removable alien 'is Iikely to escape before a warrantcan be obtained forhis arrest.''' Id.

   at 1005 (quoting j 1357(a)(2)). The Moreno coud rejected the argumentmade by
   defendants that ''any potentially removable alien who is in the custody of a IocalIaw

   enforcementagency is,by definition,dlikely to escape before a warrantcan be obtained,'

   once he orshe is released,'and instead found that'lbecause im m igration officers m ake

   nodeterm inationwhatsoeverthatthesubjectofadetainerisIikelytoescape upon release
   before a warrant can be obtained, ICE'S issuance of detainers that seek to detain


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   individuals w ithout a warrant goes beyond its statutory authority to m ake warrantless

   arrestsunder8 U.S.C.j 1357(a)(2).'' Id.at 1007,1008-09 (citations omitted). The
   Moreno coud also noted that,given ICE'S 'Iinsistence'
                                                       'thatthe agency S'makes (and
   always has made)a probable cause determination asto a subject's removability before
   a detaineris issued,itis difficultto see why ...itwould take m aterially IongerforICE to

   obtain a warrantthan to issue a detainer.' Id.at1006.

         Sim ilarl
                 y, in Gonza/ez v. Im m igration & Custom s Enf'
                                                               t, No. CV-13-04416-

   BROFFMX,2014 W L 12605368,at*7 (C.D.Cal.July 28,2014),the courtfound that
   plaintiffs had sufficiently pled a claim that ICE'S detainer practices were ''ultra vires''

   because 'lplainti
                   ffs alleged that ICE issued- and,as a m atter of policy, continues to

   issue- im m igration detainers withoutprobable cause resulting in unlawfuldetention''and

   'lplrobable cause is necessary undereither8 U.S.C.j 1357(a)or8 U.S.C.j 1357(d).''
   Gonza/ez,2014 W L 12605368,at*7 (citing United States v.Gorm an,314 F.3d 1105,
   1112 (9thCir.2002)).
             2. M r.Creedle Has Stated a Claim AgainstlC E underthe APA

         The Coud agrees with the reasoning and holdings in M oreno and Gonza/ez.Thus,

   the Courtfinds thatMr.Creedle has stated a plausible claim againstICE underSection

   706(2)(C) ofthe APA based on the allegations that ICE in issuing an immigration
   detainerforhim- failed to complywith Section 1357(a)(2)because the agency (1)made
   no determ ination whatsoeveraboutthe chances thatM r.Creedle would have been t'Iikely




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   to escape''before awarrantforhisarrestcould be obtained,and (2)did nothave probable
   cause to believe thathe w as rem ovable from the U.S.II

           M r.Creedle alleges- and nothing on the face ofthe detainersuggests otherwise-

   thatw hen IC E issued the detaineragainsthim the agency did nothave Sireason to believe

   thatM r.Creedle posed a risk offlight''and did notconductlsany individualized assessm ent

   ofMr.Creedle's riskofflight.''(DE 48 at11). Mr.Creedle also allegesthatthe detainer
   was notsuppoded by $1a sworn,padicularized showing ofprobable cause thatIhelis a
   nonci
       tizen and rem ovable underfederalim m igration Iaw.'' Id.at5-6. These allegations,

   taken as true atthis stage,are sufficientto state a claim thatlCE exceeded its statutory

   authority when itissued a detainerforMr.Creedle because lCE failed to com ply with an

   explicitrequirementofSection 1357(a)(2)and Iacked probable cause to believe thathe
   was rem ovable from the U.S.

          Because the Court finds that the allegations in the am ended com plaint are

   su#icientto state a claim underthe APA on the above-enum erated grounds,the Coud

   need not- at this stage- reach the Padies' argum ents regarding w hether lCE was

   authorized to issue a detainerforM r.Creedle withouthaving a form alagreementwith the

   Countyunder8 U.S.C.j 1357(g).

   11Throughout this Order,two di
                                fferent probable cause contexts generally willbe di
                                                                                  scussed:civiland
   criminal. Pursuantto certain provisions in the INA,ICE officers may arrestindividuals (because,for
   example,the person hascommi   tted a specificcivilimmigrati
                                                             on violation)provided thatICE has compli
                                                                                                    ed
   withaIIofthe statutoryrequirements(probablecausethatthe person isremovableand thatthe person is
   Iikelytoescapebeforeawarrantcanbeobtained).See8 U.S.C.j 1357(a)(2).TheauthoritygiventolCE
   officers in the INA is a narrow exception to the generalrule- applicabl
                                                                         e to aIIother Iaw enforcement
   officers- thata seizure ordetention underthe FoudhAmendmentrequires probable cause ofa crim e.See,
   e.g.,Beckv.Ohio,379 U.S.89,96 (1964)(l
                                        iW henthe constituti
                                                           onalvali
                                                                  dityofanarrestischallenged,i
                                                                                             tis
   the function ofa coud to determ ine w hetherthe facts available to the offi
                                                                             cers atthe m om entofthe arrest
   would 'warrantaman ofreasonablecautioninthebelief'thatal)(criminal)offense hasbeencommi
                                                                                         tted.')
   (quoting Carro//v.UnitedStates,267 U.S.132,162 (1925)).
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      C. CountV:Fourth Am endm entC laim AgainstDHS and ICE

         ICE nextseeks dism issalof M r.Creedle's Foudh Amendm ent claim . Issuing a

   detainercannotconstitute a ''seizure''underthe Foudh Am endm ent,according to ICE,

   because '
           ddetainers are requests.'' (DE 69 at15).And even i
                                                            fissuing a detainerdoes
   constitute a seizure,ICE argues,''thatseizure is fully consistentwith the Constitution

   because an IcE-detainer request evidences probable cause of rem ovability in every

   instance.''(DE 100 at10)(quotations omitted). Mr.Creedle respondsthat$(b)y issuing
   a detaineragainst him ... IC E foreseeably caused M iam i-Dade County to arrestand

   continueto hold''Mr.Creedle in violationofhis FourthAmendmentrights.(DE 48at16).
   M r.Creedle also contends thatICE violated his Foudh Amendm entrights by issuing a

   detainer against him when the agency Iacked either probable cause that he was

   rem ovable from the Uni
                         ted States,probable cause thathe posed a flightrisk,orprobable

   cause thathe had com mitted a crime.(DE 87 at18).
            1. The Fourth Am endm ent and Probable Cause for ICE to Execute a
               W arrantless A rrest
         The Foudh Amendmentto the U.S. Constitution provides that the right of the

   people to be secure againstunreasonable searches and seizures shallnotbe violated.

   U.S.Const.amend.IV. Generally,underthe Foudh Am endm ent,'lthe predicate foran

   arrest is probable cause to believe the arrestee is com m itting or has com m i
                                                                                 tted a

   crime.' Lopez-Aguilarv.Marion Cty.Sheriff'
                                            s Depl,296 F.Supp.3d 959,975-76 (S.D.
   lnd.2017)(citing Devenpeck v.Alford,543 U.S.146,152 (2004).
                                                             ,Brown B.Fexas,443
   U.S.47,51(1979).
                  ,Dunaway ?.New York,442 U.S.200,212-13 (1979)). Inthe context
   offederalim m igration enforcem ent,however,federalim m igration officials m ay conduct
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   reasonable arrests to face adm inistrative proceedings based on probable cause that

   cedain civilim m igration violations have been com m itted. See Abel?.United States,362

   U.S.217,232-34 (1960)(i
                         llLlegislation giving authority to the Attorney Generalorhis
   delegate to arrest aliens pending depodation proceedings under an adm inistrati
                                                                                 ve

   warrant,nota judicialwarrantwithin the scope ofthe Foudh Amendment,''has existed
   'from almostthe beginning ofthe Nation.').
         A warrantless arrestis constitutionalunderthe Foudh Am endm entonly when itis

   m ade with probable cause to believe a crime has been com m itted. Beck,379 U.S.at91.
                                                                                       ,

   see also Bakerv.Mccollan,443 U.S.137,142 (1979)(holding that,underthe Fourth
   Amendm ent,''a fairand reliable determ ination ofprobable cause''of a crim e m ust be

   provided ''asa conditionforany significantpretrialrestraintofliberty'
                                                                       ')(citation omitted).
   The Suprem e Coud has defined 'probable cause''as Sl
                                                      facts and circum stances dsufficient

   towarranta prudentmaninbelievingthatthe (suspect)had committedorwascommitting
   al)(criminal)offense.''' Gerstein,420 U.S.at111-12 (quoting 8eck,379 U.S.at91)
   ('These Iong-prevailing (Foudh Amendment)standards seek to safeguard ci
                                                                         tizens from
   rash and ...unfounded charges ofcrime.'')(citation omittedl;see also Cozzi?.City of
   Birmingham , 892 F.3d 1288, 1293-94 (11th Cir. 2018) (same),cert. denied sub
   nom .Thomas v. Cozzi,No.18-368,2018 VVL 4539139 (U,S.Oct. 15,2018). ''The
   operative dreason to believe'standard (in the INA) is equivalentto the constitutional
   probable causestandard.''Davila v.United States,247 F.Supp.3d 650,663 (W .D.Pa.
   2017)(citing and quoting Babula v.INS,665 F.2d 293,298 (3d Cir.1981)).



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          Under8 U.S.C.j 1226(a)ofthe INA,''an alien may be arrested and detained''by
   ICE while awaiting a rem ovaldecision,butthe arrestm ustbe pursuant to 1'a warrant

   issued by (ICE).' 8 U.S.C.j 1226(a). Section 1357(a)(2)provides an exception to the
   warrant requirem ent,butthis provision allows for a warrantless arrest only if ICE has

   S'reason to believe''thatthe suspected removable individuald
                                                              tis Iikely to escape before a

   warrantcan be obtained forhis arrest.''8 U.S.C.j 1357(a)(2). Because the detainer
   causing M r.Creedle's re-arrestwas notaccom panied by a warrant,ICE was required to

   complywith Section 1357(a)(2).
              2. M r.Creedle Has Stated a Fourth Am endm entClaim AgainstIC E

          The factthatlCE issued a ltvoluntary'
                                              'requestlzforthe County to arrestM r.Creedle

   on behal
          fofICE does notinsulate ICE from Iiability underthe Fourth Am endm ent. See

   Gonza/ez,2014 W L 12605368,at*5 ('The factthatthe im migrationdetainers impose no
   m andatory obligation on a Iaw enforcement agency does not necessarily negate

   causation ...(because)the imm igration detainers are intended to- and actually do-
   induce Iaw enforcem entagencies to incarcerate individuals beyond the time they would

   otherwise be released.'').W hile ICE suggeststhat,inorderto haveviolated Mr.Creedle's
   Fourth Amendmentrights,the agency itselfm usthave arrested him ,severalcourts have

   disagreed with this argument.

          Forexample,in Mora/es v.Chadbourne,793 F.3d 208 (1stCir.2015),the First
   Circuitaffirm ed the districtcoud's orderallowing a Foudh Am endm ehtclaim to proceed

   12The Padies do notdi
                       spute thatdetainers are voluntary requests thatIocalIaw enforcementdetain an
   individual, See,e.g.,Ga/arza v.Sza/czyk,745 F.3d 634,636 (3d Cir.2014)(s
                                                                          tlllmmigration detainersare
   permissi
          ve and,to hold otherwise,would violate the anti-comm andeering principles inherentin the Tenth
   Amendment.').
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   against ICE officials who issued a detainer againstM orales,a U.S.citizen The First
                                                                                  .




   Circuitfound that,''the Constitution requires probable cause forthe im m igration detention

   thata detainerrequests.'' Morales,793 F.3d at217. The coud explained that'dlulnder
   federalIaw,im m igration officers m ay arrestand detain an alien 'pending a decision on

   whetherthe alien isto be removed from the United States'ifa twarrant(is)issued bythe
   Attorney General.''' Id.(quoting 8 U.S.C.j 1226(a)) (emphasis added). Statutory
   authority forwarrantless arrests,including the issuance of detainers, is provided in 8

   U.S.C.j 1357.''W ithoutawarrant,imm igration officersare authorized to arrestanalien
   only ifthey have 'reason to believe thatthe alien so arrested is in the United States in

   violation ofany (immigration)Iaw orregulation and is likely to escape before a warrant
   can be obtained forhisarrest.'''Id.(quoting j 1357(a)(2)).
         Num erous othercouds around the country have concluded thatlCE can be held

   liable for its role in issuing detainers that caused arrests in violation of the Foudh

   Amendment. See,e.g.,Uroza,2014 W L 4457300,at*5 (finding thatplaintiffwho had
   beendetainedforover43 days pursuantto a detainerhad standingto seekan injunction
   against ICE and denying ICE'S motion forsummary judgment on damages claimsl,
                                                                              '
   Mendia v.Garcia,768 F.3d 1009,1013 (9th Cir.2014)(finding thatplaintiff's injurywas
   traceable to ICE forpurposes ofestablishing standing to sue fordam ages where plaintiff

   alleged thatICE caused his extended detention by issuing a detainerthatprecluded him

   from posting baill;Ga/aca v.Sza/czyk,No.10-CV-06815,2012W L1080020,at*14 (E.D.
   Pa.2012)(finding thatplaintiffwho was held forthree days on a detainerstated claims
   for dam ages against lCE agent because lCE ''lacked probable cause to suppod the


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   issuance ofan im migration detainer''),rev'd on ofhergrounds,745 F.3d 634 (3d Cir.
   2014).
        ,Gonza/ez,2014 W L 12605368,at*5 (holding thatbecause tlimmigrationdetainers
   are intended to- and actually do- induce Iaw enforcement agencies to incarcerate

   individuals beyond the tim e they would otherwise be released,''the detention is ''directly

   traceable to ICE'
                   'forpurposesofstanding to seek injunctive relieg.
           ICE relies heavily on a case recently decided by the U.S.Coud ofAppeals forthe

   FifthCircuit,City ofElCenizo v.Texas,890 F.3d 164 (5thCir.2018).13 ElCenizo involved
   a facialchallenge to the constitutionalityofseveralprovisionsofSenate Bill4 (t'SB4''),a
   law passed by the Texas Iegislature related to Iocalim m igration enforcementactivities.

   The Fifth Circuitreviewed the case on an appealby aIIpadies challenging the district

   coud'sentryofanordergrantingapreliminaryinjunctionastoseveralofSB4'sprovisions,
   including a provision m andating that Iocalo#icers com ply w ith detainer requests. EI

   Cenizo,890 F.3d at174.

          Although EICenizo contains dicta discussing the Foudh Am endm entim plications

   of honoring detainer requests, the procedural posture is m arkedly different and

   underm ines its applicabili
                             ty.The Fifth Circuitstresses throughoutitsopinion thatplaintiffs

   had a stringentburden,notonly because ofthe preliminaryinjunction standard,l4butalso



   13EICenizowasdecided byatwo-judge'' quorum''because''Judge EdwardPrado,amemberoftheoriginal
   panelinthle)case,retiredfrom theCoudonApril2,2018,andthereforedidnotpadicipateinthle)decisi
                                                                                             on,''
   EICenizo,890 F.3d at183,n.1.

   14The Fifth Circuitstated the standardforissuing a preliminary injunctionasfollows:''To be entitledto a
   preliminary injunction,the applicants mustshow (1)a substantialIikelihood thattheywillprevailon the
   meri ts,(2)asubstantialthreatthattheywillsufferirreparable injuryi fthe injunctionisnotgranted,(3)their
   substantialinjuryoutweighsthe threatened harm to the partywhom they seekto enjoin,and (4)granting
   the preliminaryinjunctionwillnotdisservethe public interest.n Id.at176.
                                                    33
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   because ofthe ''exacting standard'
                                    'ofbringing a ''pre-enforcementfacialchallenge.'' Id.

   at 187. In EICenizo,no discovery had yetbeen taken and no facts had been adduced

   otherthan those alleged in the com plaint. The Fi
                                                   fth Circuitnoted that'tsuch a challenge

   is the mostdifficultto m ountsuccessfully''because 'sitis notenough forthe plaintiffs to

   dem onstrate that the lcE-detainer m andate w ill often cause Foudh Am endm ent

   violations.'' Id. Instead,plaintiffs '
                                        dm ustestablish thatthe m andate is unconstitutionalin

   aIIofitsapplications.''Id.(internalquotationsand citationsomitted).In analyzing whether
   the ''IcE-detainer mandate'
                             'in SB4 fac/a//y violated the Foudh Am endment,the Fifth

   Circuit stated that lsplaintiffs m ustestablish thatevery seizure authorized by the ICE-

   detainerm andate violates the FoudhAm endm ent''and concluded thatplaintiffs could not

   satisfy that''exacting standard.'' Id.

         This Coud does notfind the analysis in EICenizo persuasive orhelpfulin deciding

   the issues in Defendants'm otions to dism iss. The proceduralposture there- reviewing

   the grantofa preliminary injunction enjoining the enforcementofa state Iaw- does not
   address the very differentstandard involved here- review ing a m otion to dism iss- where

   the Coud takes as true aIIwell-pled allegations in the am ended com plaintand views aII

   facts in the Iightm ostfavorable to M r.Creedle.

          Here, if ICE'S issuing a detainer constituted a seizure for Foudh Am endm ent

   purposes- as M r.Creedle alleges itdid- the nextstep in the analysis is whether ICE,

   when itcaused the warrantless arrestthatthe detainerresulted in,had probable cause

   tobelieve b0th(1)thatMr.Creedle was removablefrom the U.S.,and(2)thatMr.Creedle



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   was Iikely to escape before a warrantcould be obtained forhis arrest. See 8 U.S.C.j
   1357(a)(2).The Coud addresseseach ofthese requirements inturn.
          ICE'S argum ent that issuing a detainer could not have violated M r. Creedle's

   Foudh Amendmentrights because the detainerwas voluntary and itwas the County,not

   ICE,that actually arrested Mr.Creedle,is unpersuasive. As the Supreme Court has

   stated in another Foudh Am endm ent context, ICE is ''responsible for the natural

   consequences of(its)actions.'' Ma//ey v.Briggs,475 U.S.335,345 (1986).
                                                                        ,see also
   Morales,793 F.3dat217 (holdingthatfederaldefendantscouldbe Iiable undertheFoudh
   Am endmentforplainti
                      ff's arrestpursuantto a detainerbecause '1a Iaw enforcementofficer

   is responsibleforthe naturalconsequences ofhisactions'). ICE cannotissuea detainer
   thatavers dsprobable cause''to believe an individualis rem ovable from the U.S.,only to

   Iaterdisclaim aIIresponsibility forthatperson's arrestw hen itturns outthatthe individual

   is a U.S.citizen. See Gonza/ez,2014 W L 12605368,at *5 (holding that because
   'im m igration detainers are intended to- and actually do- induce Iaw enforcem ent

   agencies to incarcerate individuals beyond the tim e they would otherwise be released,'

   the detention is''directlytraceable to ICE'').
          Next,because IC E argues that ithad probable cause to issue a detainerforM r.

   Creedle fora civilimmigration violation (ratherthan a criminalviolation),1
                                                                            ta finding of
   probable cause would require speci
                                    fic 'facts and circum stances sufficientto warrant a

   prudent(person)in believing'that(Mr.Creedle)was a non-citizen who was subjectto
   detention and removal.''Morales,996 F.Supp.2d at39 (quoting Gerstein v.Pugh;42O
   U.S.103 (1975)). Because Mr.Creedle allegesthathe was arrested withouta warrant,

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   his arrestalso would have required a probable cause determ ination thathe was 'Iikely to

   escape before awarrant(could)be obtained.''See 8 U.S.C.j 1357(a)(2).
         ICE'S argum entthat,even ifissuing the detainerdid constitute a t'seizure''ofM r.

   Creedle forFoudh Am endm ent purposes,it had probable cause to issue the detainer

   based on the Ianguage on the detainerform itselfalso fails. Notonly is this argum ent

   entirely circular,italso fails substantively because the Ianguage on Mr.Creedle's detainer

   form that purpodedl
                     y suppoded ICE'S 'lprobable cause'
                                                      'to issue the detainer states:

   ''biometricconfirmation ofthe subject'sidentityand a recordscheckoffederaldatabases
   thataffirm ati
                vely indicate,by them selves orin addition to otherreliable information,that

   the subjecteitherlacks immigration status ornotwithstanding such status is removable
   underU.S.im m igration Iaw .' See DE 48-1,Ex.D.Even ifthis bare,conclusorystatement

   were sufficientto show that ICE had probable cause to believe that M r.Creedle was

   rem ovable from the U.S.,the detainerform would stillbe insufficientbecause there is no

   m ention ofM r.Creedle being Iikely to escape before an arrestwarrantcould be obtained.

         ICE has not yet proffered any facts regarding the agency's probable cause

   analysis- and the Coud declines to considerthe facts alleged by Madinez in his m otion

   to dism iss when ruling on ICE'S m otion to dism iss- butto the extentthat ICE relied on

   the factthatM r.Creedle was born outside ofthe U.S.to suppod a probable cause finding

   thathe was rem ovable,thatbasis,standing alone,is wholly insufficientas a m atterof

   Iaw. See,e.g.,Mora/es,996 F.Supp.2d at39 ($
                                             1The only factthatthe state had in
   deciding w hether to detain M s. Morales was that she was born in another country.

   Cedainly,thatsingle factoris insufficientto warranta prudentperson to believe thatshe


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   was inthiscountryillegally ...(because)there are over17 m illion Uni
                                                                      ted States citizens
   thatwere born in anothercountry.''
                                    l'
                                     ,see also United States 7.Brignoni-ponce,422 U.S.
   873,886 (1975)(holding thata person'sancestry,orapparentancestry,is insufficientto
   justifyeithera reasonable beliefthatthe person is an dlalien,''ora reasonable beliefthat
   the person is otherwise engaged in illegalactivity).
         Finally,ICE relies on Abel,a 1960 Suprem e Coud case stating that d
                                                                           ilegislation

   giving authority to the Attorney G eneral or his delegate to arrest aliens pending

   depodation proceedings underan administrativewarrant,notajudicialwarrantwithin the
   scope ofthe Foudh Am endm entj''has existed dl
                                                from alm ostthe beginning ofthe Nation.'

   Abel,362 U.S.at232-34. Even underthis precedent,however,ICE officialsw ould have

   needed an adm inistrative warrant, which was not present here,to com pod with the

   requirements ofthe Foudh Amendmentwhen itcaused M r.Creedle's arrest.

         Forthe reasons stated above,M r.Creedle has alleged facts sufficientto state a

   claim againstICE underthe Foudh Amendment. Mr.Creedle has alleged that(1)ICE
   issued a detainerwithoutprobable cause thathe was removable from the U.S.,thathe

   was Iikely to escape before a warrantcould be obtained,orthat he had com m itted a

   crime,and (2)the detainercaused his unlawfularrestbythe Countyforcivilimm igration
   purposes. As the review ofcases involving im m igration detainers above dem onstrates,

   M r.Creedle's allegations are sufficientto survive a motion to dism iss.

      D . C ounts Iand II:Fourth and Fourteenth A m endm ent M onellC laim s

         Having reviewed the threshold issues ofstanding and mootness in Sections III.A.1

   and lII.A.2 above,and having discussed the argum ents in ICE'S m otion to dism iss,the


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   Courtnow turnsto the rem aining argum ents inthe County's m otion to dism iss.The Court

   willfirstanalyze M r.Creedle's Fourth Am endm entclaim and then turn to his Foudeenth

   Amendm entclaim .

         Mr.Creedle brings Countlofthis action pursuantto 42 U.S.C.j 1983,which
   provides a private rightofaction againstanyone who subjects any citizen ofthe United
   States orotherperson within the jurisdiction thereofto the deprivation ofany rights or
   privileges secured by the Constitution and Iaws ofthe United States. Rehberg v.Paulk,

   566 U.S.356 (2012). Mr.Creedle argues thathe has stated claimsagainstthe County
   underMonellv.Dep'tofSocialServices ofthe City ofNew York,436 U.S.658 (1978),
   because the amended com plaint alleges that M r. Creedle was re-arrested without

   probable cause afterposting bond in his initialcrim inalm atterpursuantto the County's

   new policy and practice of S're-arresting individuals in its custody after their crim inal

   custody has ended on the sole basis thatthe person is the subjectofan immigration
   detainerrequest.'' (DE 48 at9). Butforthe County's policyofrequiring M DC to dlhonor
   aIIim m igration detainerrequests,''M r.Creedle would nothave been re-arrested by the

   County based on a purpoded civilim m igration infraction in violation of his Foudh and

   Foudeenth Am endm ent rights. Id. at 12. Thus, M r. Creedle contends that these

   allegations,taken as true,are sufficientto meet Monelîs requirem entthatthe County's

   policy and practice of honoring detainers was a proxim ate cause of his constitutional

   rightsbeing violated and thatthe County acted undercolorofstate Iaw w hen itre-arrested

   him based on the detainer.




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          The County responds thatM r.Creedl
                                           e cannotproceed with his sui
                                                                      t because he

   has notadequately alleged a policy orpractice claim underM one// The County argues
                                                                      .




   that''there can be no municipalIiability under42 U.S.C.j 1983 because aIIrelevant
   actionswere taken undercoloroffederalauthority and an officialpolicythatis authorized

   by Iaw and that,on its face,requires com pliance with the law cannotbe the m oving force

   and proximate cause ofa constitutionalviolation.''(DE 70 at1).
             1. M onellClaim s underSection 1983

         i'(T)o demonstrate a Mone//claim,the plainti
                                                    ffmustshow:(1)the violation ofa
   federalrightoccurred;(2)the existence ofa m unicipalpolicy orcustom;and (3)a causal
   connection between the violation and the m unicipalpolicy orcustom .'' Y alls v.City of

   Hollywood,FIa.,146 F.Supp.3d 1254,1270(S.D.Fla.2015)(citing City ofCanton,Ohio
   v,Harris,489 U.S.378,385 (1989)). The plaintiffmustalso show thatthe constitutional
   violation occurred ''undercolorofState Iaw.'' M one//,436 U.S.at683.

         The Eleventh Circuithas held that,w hen review ing Section 1983 claim s,a district

   coud m ust''provide appropriate tim e fordiscovery so thatboth padies m ay obtain the

   evidence necessary to present the facts and Iaw relevant to the district court's

   determination ofthe alleged constitutionalviolations.'' /d.at999 (reversing a district
   coud's grantofsummary judgmentto the defendant,the City ofFod Lauderdale,and
   stating thatdiscovery m ay be necessary to establish a constitutionalviolation in Section

   1983 cases so that'dltqhe districtcoud ...willbe in a position to determine ifplaintiffs-
   appellants have established the firstelementofa prim a facie case undersection 1983,

   oriftheirallegations ofconstitutionalviolations warranttrial'').

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          In Bannum ,lnc.,the districtcourtconveded the defendants'm otion to dism iss into

   a motion forsummary judgmentand found thatdefendants were entitled to summary
   judgment. Id.at995. The Eleventh Circui
                                         treversed on the groundsthatthe i'case was
   term inated at a premature stage''and found that 'sltlhe district coud hald) neither
   addressed plaintiffs-appellants' allegations of constitutional deprivations nor allowed

   discovery on these issues to enable plaintiffs-appellants to develop theircase fully.'' Id.

   at999.

                a. Plaintiffhas Sufficiently Alleged a ConstitutionalViolation

         M r.Creedle argues thatthe County Iacked authority under federalim m igration

   Iaws to arrest him on behalf of ICE pursuant to a detainer and,therefore,the County

   violated M r.Creedle's Fourth Am endm ent rights when it arrested him . The County,

   however, argues that it was authori
                                     zed under federal Iaw to cooperate w ith ICE by

   honoring the detainerrequesting thatM r.Creedle be held afterhe would have otherw ise

   been released based solely on probable cause thathe was removable from the U.S.

                           The INA and Im m igration Case Authority

         'The Government of the United States has broad, undoubted power over the

   subjectofimmigrationandthe statusofaliensljq''Arizona B.United States,567 U.S.387,
   394 (2012),'tsubjectto impodantconstitutionalIimitations.''Zadvydas v.Davis,533 U.S.
   678,695 (2001). d
                   tFederalgovernance ofimmigration and alien status is extensive and
   com plex.' Arizona,567 U.S.at395. The ''com prehensive federalstatutory scheme for
   regulation ofim m igration and naturalization''is em bodied in the INA. &ee BuquerB.City

   of Indianapolis, No. 1:11-cv-708, 2013 W L 1332158, at *1 (S.D. Ind. Mar. 28,

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   2013)(quoting ChamberofCommerce ofthe United Statesv.W hiting,563 U.S.582,587
   (2011)).
          'In the INA,'Congress has speci
                                        fied which aliens m ay be rem oved from the United

   States and the proceduresfordoing so. Aliens may be removed Iand are removable)if
   they were inadm issible atthe time of entry,have been convicted ofcedain crim es,or

   m eetothercriteria setby federallaw . Rem ovalis a civil,notcrim inal,m atter. A principal

   feature ofthe rem ovalsystem is the broad discretion exercised by im m igration officials.'''

   Lopez-Aguilar,296 F.Supp.3d at 969 (quoting Arizona,567 U.S.at 396 (citations
   om ittedl). Moreover,the Supreme Coud has held thatIocallaw enforcementofficials
   cannotunilaterally detain individuals based on mere suspicion ofillegalpresence in the

   United States. See Arizona,567 U.S.387.

         The INA provides thatthe Secretary ofDHS may enterinto a w ritten agreem ent

   with a state orany politicalsubdivision ofa state,pursuantto which an officerorem ployee

   ofthe state orpoliticalsubdivision,w ho is determ ined by the Secretary of DHS to be

   quali
       fied to perform a function ofan im m igration officer in relation to the investigation,

   apprehension,or detention of aliens in the U.S., may carry out such function at the

   expense ofthe state or politicalsubdivision and to the extentconsistentw ith state and

   IocalIaw. 8 U.S.C.j 1357(g)(1). Moreover,an administrative detainee held by Iocal
   officials pursuantto such an agreem ent rem ains under ICE custody and control. See

   Par/ak v.8aker,374 F.Supp.2d 551,557 (E.D.Mich.2005),vacated on othergrounds,
   Parlak v.U.S.Immigration and CustomsEnforcement,2006 W L3634385 (6thCir.2006).



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          States and theirpoliticalsubdivisions are notrequired to enterinto an agreement

    underSection 1357(g). 8 U.S.C.j 1357(g)(9). The statute also states thatnothing in
    Section 1357(g) shallbe construed to require an agreementin orderforan officeror
   em ployee of the state or subdivision to diotherw ise cooperate'' with DHS in the

    identification,apprehension,detention or rem ovalof aliens not lawfully present in the

    United States. 8 U.S.C.j 1357(g)(10)(B);see also Abriq v.Ha#,295 F.Supp.3d 874,
   880(M.D.Tenn.2018)(providingan overview ofpermissible cooperationbetweenfederal
   and state authorities underSection 1357(g)).
          Nonetheless,S'the system Congress created ...specifies Iim ited circum stances in

   which state officers may perform the functions ofan im m igration officer.'' Arizona,567

    U.S. at 408.
               ,Buquer, 2013 VVL 1332158, at *9 ('slclircumstances Iin which state
   enforcem entofficers m ay be authorized to assistthe federalgovernm entin imm igration

   matters)are Iimited and clearly defined underfederalIaw.'').The tlprincipalexample''of
   perm issible cooperation identified in Arizona is a form al,w ritten agreem entunderSection

    1357(g). Arizona,567 U.S.at408.
                                  ,see 8 U.S.C.j 1357(g)(1)-(2)'
                                                               ,Buquer,2013 W L
    1332158,at*2. Undersuch an agreement,a state officeris ''subjectto the Attorney
   General's direction and supervisionl,l''Arizona, 567 U.S. at 409 (citing 8 U.S.C. j
    1357(g)(3)),receivestraining inthe ''significantcomplexities involved inenforcing federal
   immigration Iaw,''id.(citing 8 U.S.C.j 1357(g)(2),8 C.F.R.jj 287.5(c),287.1(g)),and
   requires wri
              tten certification thatadequate training has been completed. Id.(citing 8
   U.S.C.j 1357(g)(2)).



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         The Arizona Coud noted other,specific exam ples of perm issible cooperation as

   defined underthe INA:authorization by the Secretary ofDHS in response to an actualor

   im m inentl
             tmass influx ofaliens arriving offthe coastofthe United Statesj'id.at408-09

   (quoting 8 U.S.C.j 1103(a)(1O))'
                                  ,arrestdlin (the)specific circumstance''ofa noncitizen
   who has been convicted ofa felony,depoded,and returned,only 'iafterconsultation with

                                                             ,and authorization 'to
   the FederalGovernment,'id.at409 (citing 8 U.S.C.j 1252(c))'
   arrest for (the federal crime ofj bringing in and harboring certain aliensl.l''/d.at
   409 (citing 8 U.S.C.j 1324(c)).
         Becausethe INA providesthataformal,written agreementunderSection 1357(g)
   is notrequired foranystateofficer''otherwiseto cooperatewiththe (SecretaryofDHS)in
   the identification,apprehension,detention,orrem ovalofaliens notIaM ully presentin the

   United Statesj' the Arizona Coud also considered w hat would constitute perm issible

   cooperation underthis provision. 8 U.S.C.j 1357(g)(10)(B),cited inArizona,567 U.S.
   at410.The Coudfound that'dsituationswhere Statespadicipate inajointtaskforcewith
   federaloficers, provide operationalsuppod in executing a warrant, or allow federal

   im m igration officials to gain access to detainees held in state facilities,' would be

   consonantwith this provision ofthe INA. Arizona,567 U.S.at410.The Coud also noted,

   as another exam ple of perm issible cooperation, com m unication authorized by

   statute. Id.('state officials can also assistthe FederalGovernment by responding to
   requests forinformation aboutwhen an alien willbe released from theircustody.''l;see
   also Lopez-Aguilar,296 F.Supp.3d at973-74 (findingthatù'federalpermissionforstate-
   federalcooperation in im m igration enforcementdoes notem brace detention ofa person


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   based solely on eithera removalorderoran ICE detainer...because (sluch detention
   exceedsthe Iim ited circumstances in which state officersm ayenforce federalim m igration

   Iaw'')(quotationsomitted).
                     ii.   The Fourth Am endm ent

         The Foudh Am endm entprovides thatthe rightofthe people to be secure against

   unreasonable searches and seizures shallnotbe violated.U.S.Const.amend.IV. Under

   the Foudh Amendm ent,'dthe predicate foran arrest is probable cause to believe the

   arrestee is com m itting orhas com m itted a crim e.''Lopez-Aguilar,296 F.Supp.3d at975-

   76 (citing Devenpeck,543 U.S.146.
                                   ,Brown,443 U.S.at51;Dunaway,442 U.S.at212-
   13). Because ''itis nota crime fora removable alien to remain presentin the United
   Statesl,)(ilfthe police stop someone based on nothing more than possible removability,
   the usualpredicate foran arrestis absent.''Arizona,567 U.S.at407.

         A warrantless arrestis constitutionalunderthe Foudh Amendm entonly when itis

   m ade w i
           th probable cause. See 8eck,379 U.S.at91. ''Probable cause exists 'when the

   facts and circumstanceswithin the officer's knowledge,ofw hich he orshe has reasonably

   trustwodhy inform ation, would cause a prudent person to believe, under the

   circum stances shown,that the suspect has com m itted, is com m itting,or is about to

   com mitanoffense.'''Cozzi,892 F.3d at1293-94 (quoting Lee,284 F.3d at1195 (internal
   quotation marks omittedll;see also Gerstein,420 U.S.at114 (1
                                                              'gW )e holdthatthe Fourth
   Amendment requires a judicialdetermination of probable cause as a prerequisite to
   extended restraintofIibedyfollowing arrest.'').l
                                                  'Probable cause existsif,underthetotality
   ofcircum stances,there is a fairprobability that...an illegalactis taking place.'' United


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   States v.Thompson,2012 W L 1161609,at*3 (N.D.Tex.Apr.9,2012)(citing United
   States ?.Newman,472 F.3d 233,236-37 (5th Cir.2006)).''
         The ''seizure''of individuals for known or suspected im m igration violations can

   violate the Foudh Am endmentwhen conducted undercolorofstate Iaw because itis not

   a crime fora person who is rem ovable to rem ain presentin the United States. Lopez-

   Aguilar,296 F.Supp.3d at974-75. O nly when acting undercoloroffederalauthori
                                                                              ty-

   that is, as directed, supervised, trained, cedified, and authorized by the federal

   governm ent- m ay state officers effect constitutionally reasonable seizures for civil

   immigration violations. Id.at977-98. ldlKlnowledge thatan individualhas committed a
   civilim m igration violation does notconstitute reasonable suspicion orprobable cause of

   a criminalinfraction''and therefore cannotjustify a FoudhAmendmentseizure. Id.
         The Coud agreeswith M r.Creedle'scontentionthat,if''otherwise cooperate''under

   Section 1357(g)(10),a catch-allprovision,were read to allow IocalIaw enforcementto
   arrest individuals for civil im m igration violations at the request of ICE, the training,

   supervision and certification pursuantto a form alagreem ent between DHS and state

   officers described in the remaining provisions ofSection 1357(g) would be rendered
   meaningless.See Hibbs v.W inn,542 U.S.88,101 (2004)(holdingthatthe ''rule against
   supe#luities''means thatd'lalstatute should be construed so thateffectis given to aIIits
   provisions,so that no pad willbe inoperative orsuperfluous,void or insignificant'')
   (quotations and citation om ittedl'
                                     ,see a/so Marx v.Gen.Revenue Corp.,568 U.S.371,
   386 (2013)($$
               The canon Iagainstsurplusage)is strongestwhen an interpretation would
   rendersuperfluous anotherpad ofthe same statutory scheme.''l;City of Chicago B.

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   Sessjons,888 F.3d 272,277,285 (7th Cir.2018)(holding thatthe Attorney Generaldid
   nothave authori
                 tyto place certain conditionson grants to usanctuarycities'
                                                                           'because .'(a)
   clause in a catch-allprovision atthe end ofa Iistofexplicitpowers would be an odd place

   indeed to puta sweeping powerto im pose anyconditions on any grants'')(emphasis in
   original). Accordingly,the Coud finds thatMr.Creedle has alleged plausible facts to
   suppod his contention thatthe County violated his Fourth Am endm ent rights when it

   arrested him based on a detainerand w i
                                         thoutprobable cause thathe had com m itted a

   crime. M r.Creedle has plausibl
                                 y alleged thathis arrest by the County for an alleged

   im m igration violation felloutside the scope of perm issible ''cooperation'
                                                                              'under Section

   1357(g).
         Num erous couds have determ ined thatwhen IocalIaw enforcem entagencies hold

   someone pursuantto a detainer- and w i
                                        thoutseparate probable cause thatthe person

   has com m itted a crim e- such detention gives rise to a Fourth Am endm entclaim against

   the IocalIaw enforcem ent. See,e.g.,Lunn v.Com m onweaIth,477 Mass.517,535-37,

   78 N.E.3d 1143,1159 (2017)(finding thatstate officers were notauthorized to arrest
   people forcivilim m igrations violations underM assachusetts com m on Iaw and thus had

   no authority to l'to arrest and hold an individualsolely on the basis of a Federalcivil

   immigration detainer''because ''it is not reasonable to interpret j 1357(g)(10) as
   a#irm atively granting authority to aIIState and Iocalofficers to m ake arrests thatare not

   otherwise authorized by State Iaw'
                                    ')'
                                      ,Ochoa v.Campbell,266 F.Supp.3d 1237,1259
   (E.D.W ash.2017)('Icouds around the country have held thatIocalIaw enforcement
   officials violate the Fourth Amendment w hen they tem porarily detain individuals for


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   immigration violationswithoutprobable cause.''l'
                                                  ,Morales,793 F.3d at216 (finding ''clear
   Iaw'' establishing that the constitution requires probable cause for the im m igration

   detention thata detainerrequestsl;Abriq,295 F.Supp.3d at880-81 (finding thatthe
   defendant,a localIaw enforcem entagency,Iacked probable cause to detain the plainti
                                                                                     ff

   pursuant to an immigration detainerl; Lopez-Aguilar B. Marion County Sheriff's
   Department,296 F.Supp.3d 959,969-70 (S.D.lnd.Nov.7,2017)(approvingthepadies'
   stipulatedjudgmentdeclaringthat''seizuresbyIMarionCounty)based solelyon detention
   requestsfrom ICE (inwhateverform)orremovalordersfrom an immigrationcoud violate
  the Foudh Amendmentunless ICE supplies,or(Marion County)otherwise possessles),
   probable cause thatthe individualto be detained hascommitted a criminaloffense'
                                                                                 ').
         ln Lopez-Aguilar,the county argued thatitheld the plaintiffbased on a detainer

   because itwas required to t'cooperate'
                                        'with federalim m igration officials.296 F.Supp.3d

   at969-70. The Lopez-Aguilarcoud held thatd'the fullextentoffederalperm ission for

   state-federalcooperation in im m igration enforcem entdoes notem brace detention of a

   person based solely on ei
                           thera rem ovalorder oran ICE detainer.'' Id.at973. Sssuch

  detention exceeds the dlim i
                             ted circumstances'in which state ofhcers m ay enforce federal

   immigration Iaw and thusviolates 'the system Congresscreated.'''Id.(citationsomitted).
         The Lopez-Aguilarcoud also held that'seizures conducted solel
                                                                     y on the basis of

   know n or suspected civilim m igration violations violate the Foudh Amendment w hen

  conducted undercolorofstate Iaw.'' Id.at975 (citing Santos e.Frederick Cnty.Bd.of
   Comm '
        rs,725 F.3d 451,464-68(4thCir.2013)'
                                           ,Melendres v.Arpaio,695 F.3d 990,1001
   (9thCir.2012)).''lElven incaseswhere ICE hasorsupplies probable cause to believe a
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   noncitizen is depodable fora civilim m igration violation,such probable cause,without

   more,does notjustify the seizure ofa person undercolorofstate Iaw.''Id.at976.The
   Lopez-Aguilarcovn notedthat''lilngeneral,civilmattersdo notjustifyarrestsorcustodial
   seizuresamountingto arrests.' Id.(citing Doe v.Mefro.Police Depl,445 F.3d 460,469
   (D.C.Cir.2006)(''Because the fourJane Does were arrested fora ci
                                                                  viloffense,their
   claims state a cause ofaction underthe FoudhAmendment.''l).tlTwo exceptions to this
   generalrule are seizures underw rits of bodily attachm ent or bench warrants for civil

   contemptofcoud,see Armstrong v.Squadrito,152 F.3d 564,567,569-70 (7th Cir.1998)
   (citations omitted),and seizures to effect involuntary comm itments,or 'mentaI-heaIth
   seizures,' in accordance wi
                             th dthe governing (state statutory) Iegalstandard.''' Id.
   (quotingBruce v.Guernsey,777 F.3d 872,875-76 (7thCir.2015)).''The state's interests
   in making the two types ofperm itted civilseizures noted above sim ilarly Iie atthe head of

   its reserved police power:ensuring com pliance w ith,and the functioning of,its couds,in

   the case of civilcontem pt seizures'
                                      ,and protecting a person from harm ing him self or

   others,in the case ofmentaI-heaIth seizures.'' Id.at976-77 (citing Bruce,777 F.3d at
   876 (''Generally speaking,a mentaI-heaIth seizure is Iawfulifthere is probable cause to
   believe thatthe personseized isa dangerto herselforothersa'').''Inthe case ofseizures
   forcivilim m igration violations,by contrast,the state has no Iegitim ate interestin effecting

   the seizure itself.''ld.at977 (citingArizona,567 U.S.at409-10 (quoting Truax v.Raich,
   239 U.S.33,42 (1915)($1The authori
                                    ty to controlim migration to admit or exclude
   aliens- is vested solely inthe Federalgovernment.'ll).



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         In the immigration context,the Lopez-Aguilar coud found,''ltjhe state has no
   interest in ensuring the 'suspect's'appearance at '
                                                     trial,'because the state m ay not

   adjudicate depodability; no interest in preventing the noncitizen from continuing his
   offense, because the state m ay not depod him ;and no interest in investigating the

   incident,because evidencefrom such investigation willrelate onlyto an adjudicationthe
   state m ay notconductofthe suitability ofa rem edy the state m ay notorder.''Id. S'
                                                                                     W here

   history is silentorequivocal,''the coud explained,I'
                                                      the balance ofinterests weighing so

   decisively in favorofindividualprivacy requires thatthis kind ofunauthorized seizure of

   personsbe disapproved.'' Id.Thus,''lolnlywhen acting undercoloroffederalauthority,
   that is, as directed, supervised, trained, cedified, and authorized by the federal

   governm ent, m ay state o#icers effect constitutionally reasonable seizures for civil

   im m igration violations.'' Id. Accordingly,''detainers,standing alone,do notsupply the

   necessary direction and supervision.'' Id.

         Following Arizona, two federal couds of appeals have reached the sam e

   conclusion as the courtin Lopez-Aguilar. In M elendres v.Arpaio,plaintiffs challenged a

   county sheri
              ff's depadment's program ofim m igration enforcementon Foudh Am endment

   grounds.695 F.3d at994-95 (affirming grantofpreliminary injunction).The NinthCircuit
   held that plainti
                   ffs were Sdlikely to succeed on their claim thatwithout more,the Foudh

   Am endm entdoes notperm ita stop ordetention based solely on unlaM ulpresence.''Id.

   at 1000.

         The coud noted that, although the defendant sheriff's depadm ent ''previously

   had authority ...to enforce civilimm igration Iaw''through an agreem entunderSection


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   1357(g),thatagreementhad been rescinded in relevantpart. /d.at1000-01. In the
   absence ofauthoritypursuantto anagreementunderSection 1357(g),the courtheld that
   the sheriff's depadment''m ustenforce only im m igration-related Iaws thatare crim inalin

   naturel.l'' Id.at 1001. State officers are simply l'not empowered to enforce civil
   im m igration   violations'' and   their attem pts       do    so   are   constitutionall
                                                                                           y

   unreasonable. Id.;M elendres v. Arpaio, 989            Supp. 2d 822, 895 (D. Ariz.
   2013)(granting permanentinjunction)(tdgW lhen (a sheriff's deputy)detains a vehicle's
   occupantts)because (the)deputy believes thatthe occupants are notIegally presentin
   the country,buthas no probable cause to detain them forany otherreason,the deputy

   violatesthe FoudhAmendmentrights ofthe occupants.n).
          Sim ilarly,in Santos,plaintiffchallenged herseizure by two sheriff's deputies after

   ICE inform ed the deputies ofan outstanding warrantforplaintiff's depodation. 725 F.3d

   at458.A Foudh Circuitpanelreversed the districtcoud'sgrantofsum maryjudgmentin
   defendants'favor on plaintiff's m unicipal Iiability claim because ''knowledge that an

   individualhas com m itted a civil im m igration violation does not constitute reasonable

   suspicionorprobablecauseofa criminalinfraction,''andtherefore cannotjustifya Foudh
   Amendm entseizure. Id.at470. The Santos coud determ ined thata detainerwas issued

   for plaintiffonly after the Fourth Am endm ent violation had occurred and restricted its

   holding to the proposition that,'tabsent express direction or authorization by federal

   statute orfederalofficials,state and Iocallaw enforcem entofficers m ay not detain or

   arrestan individualsolely based on know n orsuspected violations offederalim m igration




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   Iaw .' Id.at465-66.Althoughthe holding was narrow ,the Fourth Circuitnoted the general

   Iack ofstate authority overcivilim m igration violations. Id.at459,464.

         Citing both Melendresand Santos,the Lopez-Aguilarcoun held that(1)''seizures
   conducted solely on the basis ofknown orsuspected ci
                                                      vilim m igration violations violate

   the Fourth Am endment when conducted under color of state lawj''and (2) ''federal
   perm ission to cooperate in federalim m igration enforcem entdoes not perm ita state to

   require its Iaw enforcem entofficers to com plyw ith rem ovalorders,standing alone,orICE

   detainers,standing alone.'' 296 F.Supp.3d at978.

                     iii.   The County Lacked Authority under FederalLaw to Arrest
                            M r.Creedle fora CivilIm m igration Violation
         The Courtagrees w ith the above cases and finds thatM r.C reedle has plausibly

   alleged that the County was not authorized by federal Iaw to arrest him for a civil

   im m igration violation and,therefore,because he was arrested w ithoutprobable cause of

   a crim e,the County violated his Foudh Am endm entrights.

                     iv.    The County Lacked Authority underState Law to ArrestM r.
                            Creedle fora CivilIm m igration Violation
         The County m aintains that i
                                    thad authority undertwo provisions of Florida Iaw to

   detain M r.Creedle on behalfofthe federalgovernmentforan alleged civilim m igration

   offense. M r. Creedle responds that these state Iaw provisions are not independent

   sources ofauthori
                   ty forthe County to arrestindividuals forcivilim m igration violations.

                                a) Florida Statute Section 950.03
         First,the County argues thatithad authority to arrestM r.Creedle underFlorida

   Statute Section 950.03,which providesthat''Itlhe keeperofthe jailin each countywithin

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   this state shallreceive into his orhercustody any prisonerwho m ay be com m itted to the

   keeper's charge underthe authority ofthe Uni
                                              ted States and shallsafely keep each

   prisoner according to the warrant or precept for such com m itm ent untilhe or she is

   discharged by due course ofIaw ofthe United States.''Fla.Stat. j 950.03. Mr.Creedle
   contends that this statute--enacted in 1847- 1s irrelevant here because, rather than

   operating as an independentsource ofarrestauthority,itinstead authorizes C'
                                                                             jailers to
   hold prisonerswho have already beenvalidlyarrested by federalofficers.''(DE 89 at7).
   Moreover, the County agrees that M r. Creedle was in its sole custody- not being

   ''receiveld)into''itscustody- whenhe wasdetained pursuanttothedetainerrequestfrom
   ICE. (DE 70 at 19) ('dMartinez requested that the County maintain custody of EMr.
   Creedle),whowasalready in itscharge,underthe authorityofthe United States ....'').
         The Coud agrees w ith M r.Creedle thatSection 950.03 is notan independent

   source ofauthority underwhich the County could Iawfully arrestM r.Creedle solely on the

   basis ofa detainer. As discussed above,the County did nothave authority underfederal

   Iaw to arrest M r. Creedle based on a detainer,and this archaic Florida statute adds

   nothing to the County's arrestauthority.Accordingly,the Coud finds thatSection 950.03

   does notsuppod the County's arrestofM r.Creedle pursuantto a detainerbased on a

   purpoded civilim m igration violation.

                                b) Florida Statute Section 901.18
         The County also points to Florida Statute Section 901.18 forthe proposition thatit

   is imm une from civilIiability underFlorida Iaw because the County's arrestofM r.Creedle

   amounted to 'aidling)a peace officer.''(DE 70 at19). Section 901.18 providesthat1t(a)
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   person com m anded to aid a peace officershallhave the sam e authority to arrestas that

   peace o#icer and shall not be civilly Iiable for any reasonable conduct in rendering

   assistance to thatofficer.'' Fla.Stat.j 901.18. Mr.Creedle argues thatthe County's
   position with respectto this provision ofFlorida Iaw is d
                                                           'untenable''because the County's

   interpretation would 'require every person w ho is asked to m ake an arrestto m ake that

   arrest''and,thus,S
                    sltlhere would be no Iim i
                                             tto the arrests thatfederalagencies could
   demand ofIocalofficers.' (DE 89 at8-9).
         The Coud again agrees with M r.Creedle's reading ofthe statute. Itcannotbe that

   Section 9O1.18 applies in the contextoffederalofficials coordinating w ith the County to

   arrestindividuals forcivilimmigration purposes. Ifan lCE official(orany otherfederal
   officer)isa ''peace officer''underSection 901.18,then ICE officials could l'command''the
   County and its officers to arrest individuals- pursuantto detainers or,presum ably,for

   anyotherreason- andthe CountywouldberequiredtocomplybySlrenderling)assistance
   as directed by the officer.'' Fla.Stat.j 901.18. This reading ofthe statute defies both
   fundam entalTenthAm endm entprinciples and also the Padies'consensus thatdetainers

   are voluntary requests because itwould allow federalofficers to com m and IocalIaw

   enforcem entto assistwith arrests,including civilim m igration arrests. See N ew York v.

   United States, 505 U.S. 144, 175 (1992) (holding that 'federalaction Ithat)would
   tcommandeer'state governments into the service offederalregulatorypurposes ...(is)
   inconsistent with the Consti
                              tution's division of authority between federal and state

   governments''l;seea/soPrintz?.United States,521U.S.898,904 (1997)(holding invalid
   afederalIaw that''purpodled)to directstate Iaw enforcementofficersto padicipate,albeit

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   only temporarily, in the administration of a federally enacted regulatory scheme'').
   Accordingly,the Courtfinds thatSection 901.18 is notrelevantto the Coud's analysis of

   M r.Creedle's claims and,atthe very Ieast,cannotserve the County's proffered purpose

   ofim m unizing itfrom liability fora Foudh Am endm entviolation.

         Forthe reasons setfodh above,the Coud finds thatM r.Creedle has plausibly

   alleged thathis Foudh Amendmentrights were violated when the County arrested him

   pursuant to a detainer because the County was not authorized undereither state or

   federallaw to effectuate an arrest without a warrant or probable cause that he had

   committed acrime.See Kingsland v.City ofMiami,382 F.3d 1220,1226 (11th Cir.2004)
   (''A warrantless arrestwithoutprobable cause violates the Constitution and provides a
   basis for a section 1983 cIaim.''),
                                     'see also Abriq,295 F.Supp. 3d at 880 (finding
   unpersuasive defendants'argum entthatIocalIaw enforcem entw as acting undercolorof

   federalauthority w hen itdetained plainti
                                           ff because itwas cooperating w ith ICE under

   Section 1357(g)(10)).
                b. Plaintiffhas Sufficiently Alleged a Policy orPractice

         M r.Creedle has also alleged facts sufficientto state a plausible claim thatthe

   County had a policy and practice ofre-arresting aIlindividuals forwhich itreceived a

   detainerrequestfrom ICE. ''Plaintiffs w ho seek to im pose Iiability on Iocalgovernments

   underj 1983 mustprove thatIaction pursuantto officialmunicipalpolicy'caused their
   injury.''Connickv.Thompson,563 U.S.51,60-61(2011)(citing Monell,436 U.S.at691,
   694).''Officialm unicipalpolicy includesthe decisionsofa government's lawmakers,the
   acts of its policym aking o#icials, and practices so persistent and widespread as to


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   practicall
            y have the force ofIaw.'' Id.(citationsomitted).To adequately allege a Mone/l
   policy orpractice claim,Mr.Creedle m ust'lspleadl)factualcontentthatallowsthe court
   to draw the reasonable inference'thatthe (County)maintained a policy,custom ,or
   practice''that contributed to the alleged consti
                                                  tutionalviolations. M ccauley v.City of

   Chicago,671 F.3d 611,616 (7th Cir.2011)(citing Iqbal,129 S.Ct.at1949*
                                                                       ,Monell,436
   U.S.at694).Slundersection 1983,Iocalgovernmentscan be sued directlyformonetary,
   declaratory orinjunctive relief,when 'the action thatis alleged to be unconstitutional
   im plem ents orexecutes a policy statem ent,ordinance,regulation,ordecision officially

   adopted and prom ulgated by thatbody's officers'and w hen consti
                                                                  tutionaldeprivations

   resultfrom dgovernm entalcustom even though such a custom has notreceived form al

   approvalthrough the body's officialdecisionm aking channels.'' Bannum ,Inc.,901 F.2d

   at997 (quoting Monell,436 U.S.at690-91).
         M r.Creedle has alleged thatsince January 26,2017,when M iam i-Dade County

   M ayor Gimenez issued his directive ordering M DC to ''honor aI1 im m igration detainer

   requests''
            - subsequentl
                        y ratified by the Board in a resolution- the County has honored

   alIdetainers from ICE by re-arresting individuals based on purported ci
                                                                         vilim m igration

   violations afterthey would otherwise be entitled to release. M oreover,the County has

   not disputed that, at the tim e of Mr. Creedle's arrest, the County was honoring aIl

   detainers from ICE.

                c. Plaintiff has Sufficiently Alleged the County's Policy or Practice
                   was the ddMoving Force''ofHis ConstitutionalInjury
         Next,M r.Creedle has sufficiently alleged thatthe County's policy and practice of

   honoring alldetainer requests was the ''m oving force'
                                                        'behind his Foudh Am endm ent

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   injury.Thethird elementofaMone//claim requiresthata plaintiffprovethatthe municipal
   policy orcustom was the '
                           dm oving force''ofthe constitutionaldeprivation,w hich requires

   a ''high threshold ofproof.'' M onell,436 U.S.at694. The l'plaintiffm ustshow thatthe

   m unicipalaction was taken with the requisite degree ofculpability and m ustdem onstrate

   a directcausalIink between the m unicipalaction and the deprivation offederalrights.''

   Bd.ofCnty.Comm 'rs v.Brown,520 U.S.397,404 (1997).
         Here,M r.Creedle alleges,and the County concedes,thatdetainers are voluntary

   requestsfrom IC E thatthe County has deliberately chosen to honor. In fact,M r.Creedle

   alleges thatforthe period from 2013 untilthe Board's resolution in 2017,the County did

   notaccede to these detainerrequests. Mr.Creedle alleges thatthe County's policy and

   practice ofcom plying w ith detainerrequests was the m oving force,i.e.,the proximate

   cause, of his constitutional rights being violated because, absent the County's

   independentdecision to honorthe detainer,he would not have been re-arrested after

   posting bond forhis originalcrim inalm atter.

                d. Plaintiffhas Sufficiently Alleged the County Acted underColor of
                   State Law

         M r.Creedle has also alleged facts sufficientto plausibly claim that the County

   acted undercolorofstate Iaw,ratherthan federalIaw .The Eleventh Circuithas held that

   'liln orderto prevailin a ci
                              vilrights action undersection 1983,'a plaintiffm ustmake a
   prima facie showing oftwo elements:(1)thatthe actoromission deprived plaintiffofa
   right,privilege orim m unity secured by the Constitution orIaw s ofthe U nited States,and

   (2)thatthe actoromission was done by a person acting undercolorofIaw.''' Bannum,
   Inc.v.City ofForlLauderdale,9O1 F.2d 989,996-97 (11th Cir.1990)(quoting Dollarv.
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   Haralson County,704 F.2d 1540,1542-43 (11th Cir.1983),cert.denied,464 U.S.963
   (1983))(ci
            tations omitted).
         As discussed above,because Section 1357(g)(10)is notan independentsource
   ofarrestauthority,the County's argumentthatitacted undercoloroffederalIaw when it

   S'cooperated''with ICE by arresting M r.Creedle is unpersuasive. Because the County

   m ade a voluntary decision to re-arrest a U.S.citizen for an alleged civilim m igration

   violation without probable cause ofa crim e,M r.Creedle has plausibly alleged thatthe

   County acted undercolorofstate Iaw when itviolated his Foudh Am endm entrights.

                e. M r.Creedle Has Sufficiently Alleged Deliberate Indifference

         Finally, M r. Creedle has also sufficiently alleged that the County's policy and

   practice of honoring aIIdetainer requests from ICE reflected the County's deliberate

   indifference to the possibility thatconstitutionalviolations would resultfrom thatpolicy

   and practice. To succeed on a facialchallenge to a policy,a plaintifft'm ustdemonstrate

   thata m unicipaldecision reflects deliberate indifference to the risk thata violation ofa

   padicularconstitutionalorstatutory rightw illfollow the decision.'' Id.at411;see also

   Piotrowski k: City of Houston,237 F.3d 567,579 (5th Cir.2001) ('1(EJven a facially
   innocuous policy willsuppod Iiability i
                                         fitwas prom ulgated with deliberate indi
                                                                                fference to

   the'knownorobviousconsequences'thatconstitutionalviolationswould result.'')(quoting
   Brown,520 U.S.at407).
         Although the Padies dispute whetherM r.Creedle is required to prove deliberate

   indi
      fference in this context,the Coud need not decide that issue now . Even if such

   allegations are required to withstand a motion to dism iss,Mr.Creedle has stated facts


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   sufficientto satisfy the ''deliberate indifference''requirem entunderMonellby alleging that

   the County knew- based on statem ents the County m ade in the 2016 resolution

   discussed in Section Iabove- thatholding indi
                                               viduals pursuantto detainerrequestsfrom

   ICE violates theirFoudh Amendm entrights.

          Liberally construing M r.Creedle's allegations in his favorand granting him the

   benefitofaIIreasonable inferences to be derived from the facts alleged,Twom bly,550

   U.S.at575,the Courtfinds thathe has stated a viable Foudh Am endm entclaim against

   the County underSection 1983. Accordingly,the County's motion to dism iss Countlis

   denied.

                f. M r.Creedle's Fourteenth Am endm entClaim M ustbe Dism issed
         M r.Creedle also alleges thathis detention constituted a significantdeprivation of

   Iife and Iibedy that requires due process protection underthe Fourteenth Am endment.

   The County argues thatM r.Creedle has failed to state a Foudeenth Amendm entM onell

   claim underSection 1983. A recent Eleventh Circuitdecision,A/cocer v.M ills,No.17-

   14804,2018W L4870716 (11th Cir.2018),ispadicularly instructive on this issue.
         In A/cocer,the Eleventh Circuitstated that,w hen reviewing a Section 1983 case,

   the coud must''begin Iitslanalysis by identifying 'the precise constitutionalviolation'the
   defendanthasallegedl
                      y committed.''A/cocer,2018 W L4870716,at*6 (quoting Franklin
   v.Curry,738 F.3d 1246,1250 (11thCir.2013)(percuriamlj. InA/cocer,the plainti
                                                                              ffwas
   d'arrested and detained forthe m isdem eanoroffense ofdriving with a suspended Iicense.''

   Id.at*1. 'AfterAlcocersatisfied the bond requirements,the ()Countyjailcontinued to
   detain herbecause jailolicers became suspicious thatshe mightbe presentillegally in

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   the United States''because ofa faxthejailreceived from ICE stating '''(ICE!RECORDS
   INDICATE THAT THIS SUBJECT IS NOT LEGA LLY IN THE UNITED STATES.'' Id.at

   *1-2 (alteration in original). Thus,''the districtcoud concluded thatAlcocerremained
   incarcerated because Defendants engaged in a second detention of her for being an

   illegally presentalien.'' Id.at*6.

         The Eleventh Circuit opined that ''this fact pattern'' substantially sim ilarto the

   facts here- t'potentially presents two possible rights candidates fordriving (the Court's)
   analysis:(1)the FoudhAmendmentrightto be free from unreasonable seizures,Case B.
   Eslinger,555 F.3d 1317,1326 (11th Cir.2009),and (2)the FourteenthAmendmentdue-
   process right to be free from continued detention after Iaw enforcem ent should have

   know n thatthe detained person was entitled to release,G esfB.Tillm an,496 F.3d 1321,

   1327 (11th Cir.2007)(percuriaml.''Id.
         After review ing relevant precedent and the specific circum stances surrounding

   Alcocer's detention,the Eleventh Circuitfound that,because the ''
                                                                   facts thatm ighthave

   underpinned the conclusion thatAlcocerwas in the United States illegally were nota part

   of the probable cause that suppoded Alcocer's original detention . . . independent

   probable cause was required to warrantAlcocer's continued detention after she had

   satisfied aIlconditionsofherbond onheroriginaldetention.''Id.at*8(citing Morales,793
   F.3d at217. Thus,d
                    tltlhe Fourth Amendmentprovideld)an explici
                                                              tsource ofprotection
   for the right that Defendants allegedly violated''and was the appropriate governing

   constitutionalanalysis. Id.at*9 (''
                                     W here the Constitution 'provides an explici
                                                                                ttextual
   source ofconstitutionalprotection'forthe violation alleged,we apply the analysis that


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   constitutional provision requires, rather than the anal
                                                         ysis dictated by 'the m ore

   generalized notion ofsubstantive due process.''')(quoting Graham v.Connor,490 U.S.
   386,395 (1989)(internalquotations omittedll;see also Abriq,295 F.Supp.3d at882
   (finding thatplainti
                      ff's Foudeenth Amendmentclaim mustbe dismissed because ''lilfa
   constitutionalclaim is covered by a specific constitutionalprovision,such as the Foudh

   or Eighth Amendm ents,the claim m ustbe analyzed underthe standard appropriate to

   thatspeci
           fic provision,notunderthe rubric ofsubstantive due process''l; Mercado v.
   Dallas C/y.,Fexas,No.3:15-CV-3481-D,2016 W L 3166306,at*9 (N.D.Tex.June 7,
   2016)(same).
         Here,as in A/cocer,M r.Creedle alleges thathis continued detention resulted from

   inform ation provided by lCE to the County- albeitin the form ofa detainer- thatcaused

   the County to re-arrest him for an alleged civilim m igration violation unrelated to the

   crim inalmatterforwhich he w as originally arrested.Thus,''independentprobable cause

   was required to warrant(Mr.Creedlel's continued detention after()he had satisfied aII
   conditions of(his)bond on (his)originaldetention.'' See A/cocer,2018 W L4870716,at
   *8. Because the Foudh Am endm ent''provides an explicittextualsource ofconstitutional

   protection'
             'forthe violation M r.Creedle alleges,Graham ,490 U.S,at395,this Courtm ust

   ''apply the analysis thatconstitutionalprovision requires,ratherthan the anal
                                                                               ysis dictated

   by 'the m ore generalized notion ofsubstantive due process.''A/cocer,2018W L4870716,

   at*8(quoting Graham,490 U.S.at395).Thus,Mr.Creedle'sSection 1983 claim against
   the County m ust proceed under a Foudh Amendment analysis,which the Coud has

   conducted above,and Count11ofthe am ended com plaintis dism issed.


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      E. Count111:False Im prisonm entunderFlorida Law

         The County also argues that Count III of the am ended com plaint m ust be

   dism issed because M r.Creedle has notstated any facts alleging thatthe Countydetained

   him withoutl'Iegalauthority orcolorofauthorityr'which is a required elem entofa claim

   forfalse imprisonmentunderFlorida Iaw. (DE 70 at18).The County arguesthatithad
   the requisite Iegal authority under federal Iaw to cooperate with federal im m igration

   officials and m aintain custody of M r.Creedle fora briefperiod to allow DHS to assume

   custody. Id. The County also contends thatithad authority undera Flori
                                                                        da statute to

   detain individuals on behal
                             fofthe federalgovernm ent. Id.at19. M r.Creedle responds

   thatthe County did nothave authority undereitherfederalorstate Iaw to detain him fora

   civilimm igration violation.(DE 89 at6).
         Under Florida Iaw , S'the tort of false im prisonm ent is defined as 'the unlawful

   restraintofa person againsthis w ill,the gistofwhich action is the unlawfuldetention of

   the plaintiffand the deprivation ofhis Iiberty.'' Johnson B.Bam es & Noble Booksellers,

   Inc.,437 F.3d 1112,1116 (11th Cir.2006)('In a false imprisonmentactionthe plainti
                                                                                   ffis
   required only to establish im prisonm entcontrary to his willand the unlawfulness ofthe

   detention.''). To state a cause ofaction forfalse im prisonment,a plainti
                                                                           ffm ustestablish
   fourelements:$
                .1)the unlawfuldetentionanddeprivation ofIibedy ofa person 2)against
   that person's will3) without Iegalauthority or tcolor of authority'and 4) which is
   unreasonable and unwarranted underthe circum stances.'' Harder B.Edwards,174 So.

   3d 524,530 (FIa.4th DCA 2015)(quoting Montejo v.Martin Mem 'lMed.Ctr.,Inc.,935
   So.2d 1266,1268 (FIa.4th DCA 2006)).

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         The Coud finds thatM r.Creedle has alleged facts sufficientto state a plausible

   claim forfalse im prisonm ent.First,M r.Creedle adequately alleges,as discussed fully in

   Section III.D,thatthe County unlawfully detained him pursuantto a detainerbecause the

   County acted withouteitherfederalorstate authority to arrest him foran alleged civil

   immigrationviolation. Mr.Creedle also allegesthat(1)he wasdetained againsthiswill,
   because he states thathe posted bond forhis originaloffense and told M DC officials that

   he was a U.S.citizen'
                       ,and (2) such detention was unreasonable and unwarranted
   because he is,in fact,a U.S.citizen and the County did nothave probable cause thathe

   had com m itted a crim e when itre-arrested him .

         Taking as true alIofthe facts alleged by M r.Creedle,as the Court m ustatthis

   stage,he has pled facts sufficientto state a plausible claim forfalse im prisonm entunder

   Florida Iaw . Thus,the County's m otion to dism iss CountIIIis denied.

      F. Counts VIand VII:Fourth and Fifth Am endm entBivens Claim s

         Having concluded the anal
                                 ysis ofb0th the County and IC E'S m otions to dism iss,

   the Courtnow turns to the issues raised in Madinez's motion to dismiss. (DE 68).
   M adinez firstargues thatM r.Creedle's claim s againsthim m ustfailbecause there is no

   claim applicable to Mr.Creedle'salleged injuries underthe seminalSupreme Courtcase,
   Bivens v,Six Unknown NamedAgentsofFed.BureauofNarcotics,4O3 U.S.388 (1971).
   M adinez argues thatthis Courtshould notextend Bivens to the contextpresenthere:an

   im m igration detainerissued by an ICE officerforM r.Creedle,a U.S.ci
                                                                       tizen,thatresulted

   in his allegedl
                 y unlaw fuldetention.




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          M r.Creedle responds thathis claim s do notarise in a new contextand instead fall

   within the class ofù
                      squintessentialBivens claim s''that''seek a rem edy forviolations ofthe

   Constitution's protection againstunreasonable searches and seizures.' (DE 88 at13).
   M r.Creedle also contends that,even i
                                       fthe Courtfinds that his claim s present a novel

   Bivens context,the Coud should extend Bivens based on the facts in this case. Id.at15.

          1. Bivens Claim s

          UnderBivens,a plaintiffm ay,in Iim ited circum stances,recovermoney dam ages

   againstfederalofficers who have violated a plaintiff's constitutionalrights. See, e.g.,

   Z/g/arv.Abbasi,137 S.Ct.1843,1854 (2017)('The Coud (in Bivensjheld that,even
   absent statutory authorization, it would enforce a damages rem edy to Com pensate

   persons injured by federalofficers who violated the prohibition against unreasonable
   search and seizures.'). Subsequently,the Supreme Coud has cautioned Iowercouds
   againstexpanding Bivens to new contexts. Zfg/ar,137 S.Ct.at 1855 (sdThese three
   cases- Bivens,pslDavis,p6)and Car/sonp7y- representthe only instances in which the
   Coud has approved ofan implied damages remedy underthe Constitution itself.'). The



   15In Bivens,the Courtfound an im plied cause ofactionfordamages underthe FoudhAmendmentagainst
   federalagentswho entered Bivens's home withouta warrantand arrested him. Bivens,403 U.S.388.

   16'lnDavis v.Passman,442 U.S.228 (1979),an administrative assistantsued a Congressmanforfiring
   herbecause she was a woman.The Coud hel
                                         d thatthe Fifth AmendmentDue Process Clause gave hera
   damages remedyforgenderdiscrimination.''Ziglar,137 S.Ct.at1854-55 (citing Davis,442 U.S.at248-
   49).
   17$
     '(I)nCarlson k'.Green,446 U.S.14 (1980),a prisoner'sestatesued federaljailersforfailingtotreatthe
   pri
     soner's asthm a.The Coud hel
                                d thatthe Eighth AmendmentCrueland UnusualPunishments Clause
   gave him a damagesrem edyforfailure to provide adequate medicaltreatment.' Ziglar,137 S.Ct.at1855
   (citationsomitted).
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   Courtrecentl
              y held that'texpanding the Bivens remedy is now a 'disfavored'judicial
   activity.''Id.at1857 (citing Iqbal,556 U.S.at675).
         The Courtin Zjg/arwentonto explain S
                                            'Etlhe propertestfordeterminingwhethera
   case presentsa new Bivenscontextl:)(ilfthe case isdifferentin a meaningfulwayfrom
   previous Bivens cases decided by this Coud,then the contextis new .''Z/g/ar,137 S.Ct.

   at1859-60. Forexample,''(a)case mightdifferin a meaningfulway because ofthe rank
   ofthe officers involved'
                          ,the constitutionalrightatissue;the generality orspecifici
                                                                                   ty ofthe

   officialaction'
                 ,the extentofjudicialguidance as to how an officershould respond to the
   problem oremergency to be confronted'
                                       ,the statutory orotherIegalm andate underw hich

   the officer was operating'
                            , the risk of disruptive intrusion by the Judiciary into the

   functioning of other branches; or the presence of potential special factors that

   previous Bivens cases did notconsider.'' Id.

         ''In analyzing whetherto recognize a Bivens remedy in a new context,(couds)
   engage in a two-step inquiry.'' Alvarez v. U.S.Im m igration & Customs Enfl,818 F.3d

   1194,1206 (11th Cir.2016),cerf.denied sub nom.Alvarez v.Skinner,137 S.Ct.2321
   (2017). First,the coud asks''dwhetherany alternative,existing processforprotectingthe
   constitutionally recognized interest am ounts to a convincing reason for the Judicial

   Branch to refrain from providing a new and freestanding rem edy in dam ages.''' Id.

   (quoting Minneciv.Pollard,132 S.Ct.617,621 (2012)). Ifthe coud Slfindls)thatexisting
   process is sufficiently protective,(it)doles)not recognize a Bivens remedy.'' Id. The
   Eleventh Circuithas explained thatStltlhe alternatives need not'provide complete relief
   forthe plaintiff,'and as Iong as Congress has established an 'elaborate,com prehensive


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   schem e'governing a particulartype ofclaim ,this Courtwillnotallow a Bivens rem edy to

   supplementthatsystem.'' Id.(quoting Schweikerv.Chilickyl487 U.S.412,423,436
   (1988)). Ifa courtfinds thatthe case presents a new Bivens context,itm ustconduct'a
   specialfactors analysis ...before allowing thle)damages suitto proceed.' Zjg/ar,137
   S.Ct.at1860. ''Bivens w illnotbe extended to a new contextifthere are specialfactors

   counselling hesitation in the absence of affirm ative action by Congress.' Id.at 1848

   (citationsand quotationsomitted).
          In Alvareztthe Eleventh Circuit considered w hetherto extend Bivens to claim s

   ''arising from civilim m igration apprehensions and detentionsj''and held that ù'a plaintiff

   cannot recover dam ages underBivens forconstitutionalviolations that caused him to

   endure a prolonged im m igration detention.'' Alvarez,818 F.3d at 1208. The Eleventh

   Circui
        tfound persuasive decisions in the Ninth and Eighth Circuits declining to extend

   Bivens claims in the imm igration context because,among otherthings,(1) the INA
   ldprovides an adequate alternative rem edy''forindividualsw ith finalorders ofrem ovalw ho

   are detained by ICE pastthe statutory maxim um withoutreview and,(2)the existing
   ''federalgovernance ofim m igration and alien status is extensive and com plex.'' Id.at

   1207-08 (quoting De La Paz v.Coy,786 F.3d 367 (5th Cir.2015)(quoting Arizona,567
   U.S.at395)).
         The dissent,however,argued thatthe courtshould have allowed a Bivens claim

   to proceed against one of the defendants,an IC E officerwho reviewed the plaintiff's

   ''detention atthe 18O-day m ark,knew that(the pl
                                                  aintiq could notbe removed ...and
   never intended to rem ove him .'' Alvarez,818 F.3d at 1213 (Pryor,J.,dissenti
                                                                               ng).

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   Because the plaintiffhad t
                            ùplausibly alleged (a)claim that(the defendant)performed a
   sham review and continued to detain him ,knowing thatthe Iaw required his release,''the

   dissentfound thatthe coud should have allowed the plaintiff's 'due processclaim 'against

   the defendantICE o#icerto proceed. Id.

         2. M r.Creedle's Claim s Presenta New ContextunderBivens

         First,the Courtfinds that,given the Eleventh Circuit's decision in Alvarez and the

   Supreme Coud's subsequent holding in Ziglar,M r.Creedle's claims against Madinez

   underthe Foudh and Fifth Am endm ents presenta new Bivens context. The Courtcan

   find no priorcase thataddresses whetheran ICE officermay be held Iiable fordamages

   underBivensforissuing an im m igration detainerfora U.S.citizen. Indeed,the Coud has

   notfound,and the Padies have notpresented,any persuasive cases addressing Bivens

   inthe broadercontextofa wrongfularrest(otherthan,ofcourse,Bivens itselg.
         This case di#ers from Bivens in severalm aterialrespects. Bivens involved a

   plaintiffwho was at hom e w hen federalagents entered his apartm entwithouta search

   warrant,searched the entire apadment,and then arrested Bivens (without an arrest
   warrant)infrontofhisfamily.Bivens,403 U.S.388.AlthoughoneofMr.Creedle'sBivens
   claim s is brought under the Foudh Am endm ent,the specific facts of this case differ

   significantlyfrom those in Bivens.M r.Creedle had been arrested andw as in the County's

   custody when Madinez,a federalim m igration officer,issued a detainerrequesting that

   theCountycontinueto holdhim for48 hours(excludingweekendsand holidays)onbehal
                                                                               f
   ofICE forfederalim m igration purposes.




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          Thus,the Coud concludes thatM r.Creedle's claims presenta new contextunder

   Bivens,especially in Iightofthe Suprem e Coud's analysis and holding in Ziglar. See

   Ziglar,137 S.Ct.at1864 (finding thatddeven a modestextension is an extension''that
   presents a new Bivens context). This finding,however,should not be construed to
   suggest that aII Bivens claim s based on im m igration detainers, or in the context of

   im m igration detention generally,would necessarily presenta new context.l8 To be sure,

   the Coud's finding is Iim ited to the narrow facts presented by this case,where an ICE

   officeris alleged to have issued a detaineragainsta U.S.citizen withoutprobable cause.

   Mr.Creedle does notallege thatMadinez's issuance ofthe detainerwas malicious (as
   was the conduct of the defendants mentioned by the dissent in Zjg/ar), based on
   fabricated inform ation,orotherwise outside the scope ofM adinez's rote,m inisterialduties

   as an ICE officer. Unlike Alvarez,where the plaintiffhad alleged thatthe ICE officer

   conducted a sham review while knowing thatthe plaintiffcould notbe '
                                                                      tremoved in the

   reasonably foreseeable future,'Mr.Creedle has notalleged thatM adinez knew thatM r.

   Creedle was a U.S.citizen orthat he purposefully issued a detainerknow ing that M r.

   Creedle could notIawfully be detained by the County pursuantto a detainer.

          3.      SpecialFactors CounselAgainst Extending Bivens to M r.Creedle's
                  Claim AgainstM artinez

          Having found thatM r.Creedle's claims against Martinez present a new context

   underBivens,the Coud m ustnextconsiderwhetherthere are 'specialfactors counselling



   18This Coud agrees with the dissentin Alvarez,which di
                                                        sagreed with the 'broad,categoricalholding that
   'a plainti
            ffcannotrecoverdamages underBivens forconstituti onalviolati
                                                                       ons thatcaused him to endure a
   prolonged immigrationdetention,'''Alvarez,818F.3d at1218(Pryor,J.,dissenting).
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   hesitation'
             'before allow ing M r.Creedle's Bivens claim s to proceed. The Coud finds that,

   underthe specific facts ofthis case and the analysis setforth in Ziglar,there are.

         As m entioned above,the allegations againstM adinez in the am ended com plaint

   do notsuggestthatMadinez knowingly orpurposefully issued a detaineragainsta U.S.

   citizen. M r.Creedle also does notallege thatMadinez knew thatthe County could not

   Iawfully detain him pursuantto the detainerthatMadinez signed.Instead,itappears that

   M adinez was acting within the param eters ofICE'S currentpractices and procedures for

   issuing detainers. The Supreme Coud held in Z/g/ar,however,that''a Bivens action is

   nota propervehicle foraltering an entity's policyl,l''orotherwise '
                                                                     dcallling)into question
   the form ulation and im plem entation of a general policy.'' Z/g/ar, 137 S.Ct.at 1860

   (internalquotations omitted). Thatis whatMr.Creedle seeks to do here. Ratherthan
   seeking dam ages for an unauthorized,ultra vires actdone by a m alicious or reckless

   official,Plainti
                  ffm akes clear in his amended com plaintthathe challenges the broader,

   generalpolicy ofissuing detainers pursuantto w hich M adinez acted.

         Even acknowledging thatMadinez lacked probable cause to issue the detainerfor

   M r.Creedle,i
               tis notclearthatthis Coud is ''
                                             w ellsuited,absentcongressionalaction or

   instruction,to considerand weigh the costs and benefits ofallowing a dam ages action to

   proceed''againstanindi
                        vidualfederalemployee in this new context.Id.at1858 (''Itisnot
   necessarily a judicialfunction to establish whole categories ofcases in which federal
   officers m ustdefend againstpersonalIiability claim s in the com plex sphere ofIitigation,

   with aIIofitsburdenson some and benefitsto others.').Thus,the Courtfindsthat,under



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   the specificfacts ofthiscase,ajudicially-created damages remedyunderBivensagainst
   Madinez is notwarranted.

           Forthe reasons setforth above,M adinez's m otion to dism iss is granted. Having

   found thatM r.Creedle has failed to state a claim againstM adinez,the Coud need not

   address M adinez's argum entthathe is im m une from any such claim s based on qualified

   im m unity.

   IV.     CONCLUSION

           Forthe foregoing reasons,itis ORDERED AND A DJUDG ED that:

                 The County's motion to dismiss (DE 70)Counts Iand IIIis GRANTED IN
                 PART A ND DENIED IN PA RT;

                 The County's m otion to dism iss Count11is G RANTED;

              3. DHS and ICE'S motion to dismiss (DE 69)Counts IV and V is GRANTED
                 IN PART AND DENIED IN PART;and

              4. Madinez's motionto dism issCounts VIand VII(DE 68)isGRANTED.
           ICE,DHS and the County shallfile answers to M r.Creedle's am ended com plaint

   w ithin 14 days ofthe date ofthis O rder.

           DONEANDORDEREDi
                         nchambersinMi
                                     ami,Fl
                                          orida,thi
                                                  sC dayofNovember,
   2018.



                                                    KATHLE N M .W ILLIAM S
                                                    UNITED TATES DISTRICT JUDG E




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